Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20   Page 1 of 61 PageID 217




                     EXHIBIT F




                                                                      App-28
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20               Page 2 of 61 PageID 218
                                                                                       Trusted
                                                                                       Advocacy.
                                                                                       Proven
                                                                                       Results.




            Bernstein Litowitz Berger & Grossmann LLP
            Attorneys at Law


            Firm Resume




New York                             California                         Louisiana
1251 Avenue of the Americas          2121 Avenue of the Stars           2727 Prytania Street
44th Floor                           Suite 2575                         Suite 14
New York, NY 10020                   Los Angeles, CA 90067              New Orleans, LA 70130
Tel: 212-554-1400                    Tel: 310-819-3470                  Tel: 504-899-2339
Fax: 212-554-1444                                                       Fax: 504-899-2342

                  Illinois                              Delaware
                  875 North Michigan Avenue             500 Delaware Avenue
                  Suite 3100                            Suite 901
                  Chicago, IL 60611                     Wilmington, DE 19801
                  Tel: 312-373-3880                     Tel: 302-364-3600
                  Fax: 312-794-7801

                                                                                      App-29
                                  www.blbglaw.com
  Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                                                    Page 3 of 61 PageID 219



                                                                TABLE OF CONTENTS




FIRM OVERVIEW .......................................................................................................................................................1
     More Top Securities Recoveries ............................................................................................................................1
     Giving Shareholders a Voice and Changing Business Practices for the Better .....................................................2
     Advocacy for Victims of Corporate Wrongdoing..................................................................................................2
PRACTICE AREAS ......................................................................................................................................................4
   Securities Fraud Litigation ........................................................................................................................................4
   Corporate Governance and Shareholders’ Rights .....................................................................................................4
   Employment Discrimination and Civil Rights ..........................................................................................................4
   General Commercial Litigation and Alternative Dispute Resolution .......................................................................5
   Distressed Debt and Bankruptcy Creditor Negotiation .............................................................................................5
   Consumer Advocacy .................................................................................................................................................5
THE COURTS SPEAK .................................................................................................................................................6
RECENT ACTIONS & SIGNIFICANT RECOVERIES ..............................................................................................7
   Securities Class Actions ............................................................................................................................................7
   Corporate Governance and Shareholders’ Rights ................................................................................................... 13
   Employment Discrimination and Civil Rights ........................................................................................................ 18
CLIENTS AND FEES ................................................................................................................................................. 19
IN THE PUBLIC INTEREST ..................................................................................................................................... 20
     Bernstein Litowitz Berger & Grossmann Public Interest Law Fellows .................................................. 20
     Firm sponsorship of Her Justice .......................................................................................................................... 20
     The Paul M. Bernstein Memorial Scholarship ..................................................................................................... 20
     Firm sponsorship of City Year New York ........................................................................................................... 20
     Max W. Berger Pre-Law Program ....................................................................................................................... 20
     New York Says Thank You Foundation .............................................................................................................. 20
OUR ATTORNEYS .................................................................................................................................................... 21
   Members ................................................................................................................................................................. 21
        Max W. Berger ................................................................................................................................................ 21
        Gerald H. Silk .................................................................................................................................................. 23
        Salvatore J. Graziano ....................................................................................................................................... 24
        John C. Browne ............................................................................................................................................... 25
        Mark Lebovitch ............................................................................................................................................... 26
        Hannah Ross .................................................................................................................................................... 28
        David L. Wales ................................................................................................................................................ 29
        Avi Josefson .................................................................................................................................................... 30
        John Rizio-Hamilton ........................................................................................................................................ 31
        James A. Harrod .............................................................................................................................................. 32
        Jeroen van Kwawegen ..................................................................................................................................... 33
        Katherine M. Sinderson ................................................................................................................................... 34
        Jonathan D. Uslaner ......................................................................................................................................... 34
        Jeremy P. Robinson ......................................................................................................................................... 35
        Adam H. Wierzbowski .................................................................................................................................... 36
        Michael D. Blatchley ....................................................................................................................................... 37
        Lauren McMillen Ormsbee.............................................................................................................................. 37
        Gregory V. Varallo .......................................................................................................................................... 38
        Rebecca E. Boon.............................................................................................................................................. 39
        Edward G. Timlin ............................................................................................................................................ 40
   Of Counsel .............................................................................................................................................................. 42
        G. Anthony Gelderman, III .............................................................................................................................. 42
        Peter Russell .................................................................................................................................................... 42
   Senior Counsel ........................................................................................................................................................ 43



                                                                                                                                                                 App-30
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                                                   Page 4 of 61 PageID 220


     Jai K. Chandrasekhar ....................................................................................................................................... 43
     Richard D. Gluck ............................................................................................................................................. 44
     Adam Hollander .............................................................................................................................................. 44
     Abe Alexander ................................................................................................................................................. 45
     Scott R. Foglietta ............................................................................................................................................. 46
     Christopher J. Orrico ....................................................................................................................................... 46
     John J. Mills ..................................................................................................................................................... 47
     David L. Duncan.............................................................................................................................................. 48
Associates ............................................................................................................................................................... 49
     Kate Aufses...................................................................................................................................................... 49
     Andrew Blumberg ........................................................................................................................................... 49
     Amanda Boitano .............................................................................................................................................. 49
     Lauren M. Cruz................................................................................................................................................ 50
     R. Ryan Dykhouse ........................................................................................................................................... 50
     James M. Fee ................................................................................................................................................... 50
     Nicholas Gersh ................................................................................................................................................ 51
     Mathew Hough ................................................................................................................................................ 51
     Thomas James.................................................................................................................................................. 51
     Jesse L. Jensen ................................................................................................................................................. 52
     Rebecca N. Kim ............................................................................................................................................... 52
     Jacqueline Y. Ma ............................................................................................................................................. 53
     Michael Mathai ................................................................................................................................................ 53
     Daniel Meyer ................................................................................................................................................... 53
     Christopher Miles ............................................................................................................................................ 54
     Brenna Nelinson .............................................................................................................................................. 54
     Kyle Panton ..................................................................................................................................................... 54
     Alexander T. Payne ......................................................................................................................................... 55
     Matthew Traylor .............................................................................................................................................. 55
     Catherine E. van Kampen ................................................................................................................................ 55
     Alla Zayenchik ................................................................................................................................................ 56
Staff Associate ........................................................................................................................................................ 57
     David Steacie ................................................................................................................................................... 57




                                                                                                                                                               App-31
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 5 of 61 PageID 221




       Since our founding in 1983, Bernstein Litowitz Berger &
Grossmann LLP has obtained many of the largest monetary recoveries in
history – over $33 billion on behalf of investors. Unique among our
peers, the firm has obtained the largest settlements ever agreed to by
public companies related to securities fraud, including three of the ten
largest in history. Working with our clients, we have also used the
litigation process to achieve precedent-setting reforms which have
increased market transparency, held wrongdoers accountable and
improved corporate business practices in groundbreaking ways.

           FIRM OVERVIEW
           Bernstein Litowitz Berger & Grossmann LLP (“BLB&G”), a national law firm with offices
           located in New York, California, Louisiana and Illinois, prosecutes class and private actions on
           behalf of individual and institutional clients. The firm’s litigation practice areas include securities
           class and direct actions in federal and state courts; corporate governance and shareholder rights
           litigation, including claims for breach of fiduciary duty and proxy violations; mergers and
           acquisitions and transactional litigation; alternative dispute resolution; distressed debt and
           bankruptcy; civil rights and employment discrimination; consumer class actions and antitrust. We
           also handle, on behalf of major institutional clients and lenders, more general complex commercial
           litigation involving allegations of breach of contract, accountants’ liability, breach of fiduciary
           duty, fraud, and negligence.

           We are the nation’s leading firm in representing institutional investors in securities fraud class
           action litigation. The firm’s institutional client base includes the New York State Common
           Retirement Fund; the California Public Employees’ Retirement System (CalPERS); the Ontario
           Teachers’ Pension Plan Board (the largest public pension funds in North America); the Los
           Angeles County Employees Retirement Association (LACERA); the Chicago Municipal, Police
           and Labor Retirement Systems; the Teacher Retirement System of Texas; the Arkansas Teacher
           Retirement System; Forsta AP-fonden (“AP1”); Fjarde AP-fonden (“AP4”); the Florida State
           Board of Administration; the Public Employees’ Retirement System of Mississippi; the New York
           State Teachers’ Retirement System; the Ohio Public Employees Retirement System; the State
           Teachers Retirement System of Ohio; the Oregon Public Employees Retirement System; the
           Virginia Retirement System; the Louisiana School, State, Teachers and Municipal Police
           Retirement Systems; the Public School Teachers’ Pension and Retirement Fund of Chicago; the
           New Jersey Division of Investment of the Department of the Treasury; TIAA-CREF and other
           private institutions; as well as numerous other public and Taft-Hartley pension entities.


           M O R E T O P S E CU R I T I ES R E CO V E R I E S

           Since its founding in 1983, Bernstein Litowitz Berger & Grossmann LLP has litigated some of the
           most complex cases in history and has obtained over $33 billion on behalf of investors. Unique
           among its peers, the firm has negotiated the largest settlements ever agreed to by public companies
           related to securities fraud, and obtained many of the largest securities recoveries in history
           (including 6 of the top 13):




                                                                                                        App-32
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                               Page 6 of 61 PageID 222


               •    In re WorldCom, Inc. Securities Litigation – $6.19 billion recovery
               •    In re Cendant Corporation Securities Litigation – $3.3 billion recovery
               •    In re Bank of America Corp. Securities, Derivative, and Employee Retirement Income
                    Security Act (ERISA) Litigation – $2.43 billion recovery
               •    In re Nortel Networks Corporation Securities Litigation (“Nortel II”) – $1.07 billion
                    recovery
               •    In re Merck & Co., Inc. Securities Litigation – $1.06 billion recovery
               •    In re McKesson HBOC, Inc. Securities Litigation – $1.05 billion recovery*

                                                                      *Source: ISS Securities Class Action Services

          For over a decade, ISS Securities Class Action Services has compiled and published data on
          securities litigation recoveries and the law firms prosecuting the cases. BLB&G has been at or
          near the top of their rankings every year – often with the highest total recoveries, the highest
          settlement average, or both.

          BLB&G also eclipses all competitors on ISS SCAS’s “Top 100 Settlements of All Time” report,
          having recovered nearly 40% of all the settlement dollars represented in the report (over $25
          billion), and having prosecuted over a third of all the cases on the list (35 of 100).


          G I V I N G S H A R E HO L D E R S    A   VOICE   AND   C H A N G I N G B US I N E S S P R A C T I CE S   FOR
          T H E B ET T E R

          BLB&G was among the first law firms ever to obtain meaningful corporate governance reforms
          through litigation. In courts throughout the country, we prosecute shareholder class and derivative
          actions, asserting claims for breach of fiduciary duty and proxy violations wherever the conduct of
          corporate officers and/or directors, as well as M&A transactions, seek to deprive shareholders of
          fair value, undermine shareholder voting rights, or allow management to profit at the expense of
          shareholders.

          We have prosecuted seminal cases establishing precedents which have increased market
          transparency, held wrongdoers accountable, addressed issues in the boardroom and executive
          suite, challenged unfair deals, and improved corporate business practices in groundbreaking ways.

          From setting new standards of director independence, to restructuring board practices in the wake
          of persistent illegal conduct; from challenging the improper use of defensive measures and deal
          protections for management’s benefit, to confronting stock options backdating abuses and other
          self-dealing by executives; we have confronted a variety of questionable, unethical and
          proliferating corporate practices. Seeking to reform faulty management structures and address
          breaches of fiduciary duty by corporate officers and directors, we have obtained unprecedented
          victories on behalf of shareholders seeking to improve governance and protect the shareholder
          franchise.


          A DV O C A CY   FO R   V I CT I M S   OF   C O R P O R A T E W R O N G DO I N G

          While BLB&G is widely recognized as one of the leading law firms worldwide advising
          institutional investors on issues related to corporate governance, shareholder rights, and securities
          litigation, we have also prosecuted some of the most significant employment discrimination, civil
          rights and consumer protection cases on record. Equally important, the firm has advanced novel
          and socially beneficial principles by developing important new law in the areas in which we
          litigate.




                                                        2
                                                                                                               App-33
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 7 of 61 PageID 223




          The firm served as co-lead counsel on behalf of Texaco’s African-American employees in Roberts
          v. Texaco Inc., which resulted in a recovery of $176 million, the largest settlement ever in a race
          discrimination case. The creation of a Task Force to oversee Texaco’s human resources activities
          for five years was unprecedented and served as a model for public companies going forward.

          In the consumer field, the firm has gained a nationwide reputation for vigorously protecting the
          rights of individuals and for achieving exceptional settlements. In several instances, the firm has
          obtained recoveries for consumer classes that represented the entirety of the class’s losses – an
          extraordinary result in consumer class cases.




                                                  3
                                                                                                     App-34
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 8 of 61 PageID 224



          PRACTICE AREAS

          S ECURITIES F RAUD L ITIGAT ION
          Securities fraud litigation is the cornerstone of the firm’s litigation practice. Since its founding,
          the firm has had the distinction of having tried and prosecuted many of the most high-profile
          securities fraud class actions in history, recovering billions of dollars and obtaining unprecedented
          corporate governance reforms on behalf of our clients. BLB&G continues to play a leading role in
          major securities litigation pending in federal and state courts, and the firm remains one of the
          nation’s leaders in representing institutional investors in securities fraud class and derivative
          litigation.

          The firm also pursues direct actions in securities fraud cases when appropriate. By selectively
          opting out of certain securities class actions, we seek to resolve our clients’ claims efficiently and
          for substantial multiples of what they might otherwise recover from related class action
          settlements.

          The attorneys in the securities fraud litigation practice group have extensive experience in the laws
          that regulate the securities markets and in the disclosure requirements of corporations that issue
          publicly traded securities. Many of the attorneys in this practice group also have accounting
          backgrounds. The group has access to state-of-the-art, online financial wire services and
          databases, which enable it to instantaneously investigate any potential securities fraud action
          involving a public company’s debt and equity securities.


          C ORPORATE G OVERNANCE                   AND    S HAREHOLDERS ’ R IGHTS
          The Corporate Governance and Shareholders’ Rights Practice Group prosecutes derivative actions,
          claims for breach of fiduciary duty, and proxy violations on behalf of individual and institutional
          investors in state and federal courts throughout the country. The group has obtained
          unprecedented victories on behalf of shareholders seeking to improve corporate governance and
          protect the shareholder franchise, prosecuting actions challenging numerous highly publicized
          corporate transactions which violated fair process and fair price, and the applicability of the
          business judgment rule. We have also addressed issues of corporate waste, shareholder voting
          rights claims, workplace harassment, and executive compensation. As a result of the firm’s high-
          profile and widely recognized capabilities, the corporate governance practice group is increasingly
          in demand by institutional investors who are exercising a more assertive voice with corporate
          boards regarding corporate governance issues and the board’s accountability to shareholders.

          The firm is actively involved in litigating numerous cases in this area of law, an area that has
          become increasingly important in light of efforts by various market participants to buy companies
          from their public shareholders “on the cheap.”


          E MPLOYMENT D ISCRIMINATI ON                     AND    C IVI L R IGHTS
          The Employment Discrimination and Civil Rights Practice Group prosecutes class and multi-
          plaintiff actions, and other high-impact litigation against employers and other societal institutions
          that violate federal or state employment, anti-discrimination, and civil rights laws. The practice
          group represents diverse clients on a wide range of issues including Title VII actions: race, gender,
          sexual orientation and age discrimination suits; sexual harassment, and “glass ceiling” cases in
          which otherwise qualified employees are passed over for promotions to managerial or executive
          positions.

          Bernstein Litowitz Berger & Grossmann LLP is committed to effecting positive social change in
          the workplace and in society. The practice group has the necessary financial and human resources
          to ensure that the class action approach to discrimination and civil rights issues is successful. This

                                                   4
                                                                                                       App-35
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 9 of 61 PageID 225


          litigation method serves to empower employees and other civil rights victims, who are usually
          discouraged from pursuing litigation because of personal financial limitations, and offers the
          potential for effecting the greatest positive change for the greatest number of people affected by
          discriminatory practice in the workplace.


          G ENERAL C OMMERCI AL L IT IGATION                    AND    A LTERNATIVE D IS PUTE
          R ESOLUTION
          The General Commercial Litigation practice group provides contingency fee representation in
          complex business litigation and has obtained substantial recoveries on behalf of investors,
          corporations, bankruptcy trustees, creditor committees and other business entities. We have faced
          down powerful and well-funded law firms and defendants – and consistently prevailed. However,
          not every dispute is best resolved through the courts. In such cases, BLB&G Alternative Dispute
          practitioners offer clients an accomplished team and a creative venue in which to resolve conflicts
          outside of the litigation process. BLB&G has extensive experience – and a marked record of
          successes – in ADR practice. For example, in the wake of the credit crisis, we successfully
          represented numerous former executives of a major financial institution in arbitrations relating to
          claims for compensation. Our attorneys have led complex business-to-business arbitrations and
          mediations domestically and abroad representing clients before all the major arbitration tribunals,
          including the American Arbitration Association (AAA), FINRA, JAMS, International Chamber of
          Commerce (ICC) and the London Court of International Arbitration.


          D ISTRESSED D E BT          AND    B ANKRUPTCY C REDITOR N EGOTIATION
          The BLB&G Distressed Debt and Bankruptcy Creditor Negotiation Group has obtained billions of
          dollars through litigation on behalf of bondholders and creditors of distressed and bankrupt
          companies, as well as through third-party litigation brought by bankruptcy trustees and creditors’
          committees against auditors, appraisers, lawyers, officers and directors, and other defendants who
          may have contributed to client losses. As counsel, we advise institutions and individuals
          nationwide in developing strategies and tactics to recover assets presumed lost as a result of
          bankruptcy. Our record in this practice area is characterized by extensive trial experience in
          addition to completion of successful settlements.


          C ONSUMER A DVOCACY
          The Consumer Advocacy Practice Group at Bernstein Litowitz Berger & Grossmann LLP
          prosecutes cases across the entire spectrum of consumer rights, consumer fraud, and consumer
          protection issues. The firm represents victimized consumers in state and federal courts nationwide
          in individual and class action lawsuits that seek to provide consumers and purchasers of defective
          products with a means to recover their damages. The attorneys in this group are well versed in the
          vast array of laws and regulations that govern consumer interests and are aggressive, effective,
          court-tested litigators. The Consumer Practice Advocacy Group has recovered hundreds of
          millions of dollars for millions of consumers throughout the country. Most notably, in a number
          of cases, the firm has obtained recoveries for the class that were the entirety of the potential
          damages suffered by the consumer. For example, in actions against MCI and Empire Blue Cross,
          the firm recovered all of the damages suffered by the class. The group achieved its successes by
          advancing innovative claims and theories of liabilities, such as obtaining decisions in
          Pennsylvania and Illinois appellate courts that adopted a new theory of consumer damages in mass
          marketing cases. Bernstein Litowitz Berger & Grossmann LLP is, thus, able to lead the way in
          protecting the rights of consumers.




                                                  5
                                                                                                     App-36
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                Page 10 of 61 PageID 226



           THE COURTS SPEAK
           Throughout the firm’s history, many courts have recognized the professional excellence and
           diligence of the firm and its members. A few examples are set forth below.

           IN RE   WORLDCOM, INC. SECURITIES LITIGATION
           THE HONORABLE DENISE COTE OF THE UNITED STATES DISTRICT COURT FOR
           THE SOUTHERN DISTRICT OF NEW YORK

              “I have the utmost confidence in plaintiffs’ counsel…they have been doing a superb
             job…. The Class is extraordinarily well represented in this litigation.”

              “The magnitude of this settlement is attributable in significant part to Lead Counsel’s
             advocacy and energy…. The quality of the representation given by Lead Counsel...has
             been superb...and is unsurpassed in this Court’s experience with plaintiffs’ counsel in
             securities litigation.”

             “Lead Counsel has been energetic and creative. . . . Its negotiations with the Citigroup
             Defendants have resulted in a settlement of historic proportions.”


           IN RE CLARENT CORPORATION SECURITIES LITIGATION
           T H E H O N O R A B L E C H A R L E S R. B R E Y E R O F T H E U N I T E D S T A T E S D I S T R I C T
           COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

             ”It was the best tried case I’ve witnessed in my years on the bench . . .”

             “[A]n extraordinarily civilized way of presenting the issues to you [the jury]. . . . We’ve
             all been treated to great civility and the highest professional ethics in the presentation of
             the case….”

             “These trial lawyers are some of the best I’ve ever seen.”


           LANDRY’S RESTAURANTS, INC. SH AREHOLDER LITIGATION
           VICE CHANCELLOR J. TRAVIS LASTER OF THE DELAWARE COURT OF
           CHANCERY

             ”I do want to make a comment again about the excellent efforts . . . put into this case. . . .
             This case, I think, shows precisely the type of benefits that you can achieve for
             stockholders and how representative litigation can be a very important part of our
             corporate governance system . . . you hold up this case as an example of what to do.”


           M C C A L L V . S C O T T (C O L U M B I A /H CA D E R I V A T I V E L I T I G A T I O N )
           THE HONORABLE THOMAS A. HIGGINS OF THE UNITED STATES DISTRICT
           COURT FOR THE MIDDLE DISTRICT OF TENNESSEE

             “Counsel’s excellent qualifications and reputations are well documented in the record,
             and they have litigated this complex case adeptly and tenaciously throughout the six years
             it has been pending. They assumed an enormous risk and have shown great patience by
             taking this case on a contingent basis, and despite an early setback they have persevered
             and brought about not only a large cash settlement but sweeping corporate reforms that
             may be invaluable to the beneficiaries.”


                                                         6
                                                                                                              App-37
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                             Page 11 of 61 PageID 227



                RECENT ACTIONS & SIGNIFICANT RECOVERIES
                Bernstein Litowitz Berger & Grossmann LLP is counsel in many diverse nationwide class and
                individual actions and has obtained many of the largest and most significant recoveries in history.
                Some examples from our practice groups include:

                S ECURITIES C LASS A CTIONS
CASE:            IN RE WORLDCOM, INC. SECURITIES LITIGATION
COURT:           United States District Court for the Southern District of New York
HIGHLIGHTS:      $6.19 billion securities fraud class action recovery – the second largest in history; unprecedented
                 recoveries from Director Defendants.
CASE SUMMARY:    Investors suffered massive losses in the wake of the financial fraud and subsequent bankruptcy of
                 former telecom giant WorldCom, Inc. This litigation alleged that WorldCom and others
                 disseminated false and misleading statements to the investing public regarding its earnings and
                 financial condition in violation of the federal securities and other laws. It further alleged a
                 nefarious relationship between Citigroup subsidiary Salomon Smith Barney and WorldCom,
                 carried out primarily by Salomon employees involved in providing investment banking services to
                 WorldCom, and by WorldCom’s former CEO and CFO. As Court-appointed Co-Lead Counsel
                 representing Lead Plaintiff the New York State Common Retirement Fund, we obtained
                 unprecedented settlements totaling more than $6 billion from the Investment Bank Defendants who
                 underwrote WorldCom bonds, including a $2.575 billion cash settlement to settle all claims against
                 the Citigroup Defendants. On the eve of trial, the 13 remaining “Underwriter Defendants,”
                 including J.P. Morgan Chase, Deutsche Bank and Bank of America, agreed to pay settlements
                 totaling nearly $3.5 billion to resolve all claims against them. Additionally, the day before trial
                 was scheduled to begin, all of the former WorldCom Director Defendants had agreed to pay over
                 $60 million to settle the claims against them. An unprecedented first for outside directors, $24.75
                 million of that amount came out of the pockets of the individuals – 20% of their collective net
                 worth. The Wall Street Journal, in its coverage, profiled the settlement as literally having “shaken
                 Wall Street, the audit profession and corporate boardrooms.” After four weeks of trial, Arthur
                 Andersen, WorldCom’s former auditor, settled for $65 million. Subsequent settlements were
                 reached with the former executives of WorldCom, and then with Andersen, bringing the total
                 obtained for the Class to over $6.19 billion.


CASE:            IN RE CENDANT CORPORATION SECURITIES LITIGATION
COURT:           United States District Court for the District of New Jersey
HIGHLIGHTS:      $3.3 billion securities fraud class action recovery – the third largest in history; significant corporate
                 governance reforms obtained.
CASE SUMMARY:    The firm was Co-Lead Counsel in this class action against Cendant Corporation, its officers and
                 directors and Ernst & Young (E&Y), its auditors, for their role in disseminating materially false
                 and misleading financial statements concerning the company’s revenues, earnings and expenses for
                 its 1997 fiscal year. As a result of company-wide accounting irregularities, Cendant restated its
                 financial results for its 1995, 1996 and 1997 fiscal years and all fiscal quarters therein. Cendant
                 agreed to settle the action for $2.8 billion to adopt some of the most extensive corporate
                 governance changes in history. E&Y settled for $335 million. These settlements remain the
                 largest sums ever recovered from a public company and a public accounting firm through securities
                 class action litigation. BLB&G represented Lead Plaintiffs CalPERS – the California Public
                 Employees’ Retirement System, the New York State Common Retirement Fund and the New
                 York City Pension Funds, the three largest public pension funds in America, in this action.




                                                         7
                                                                                                              App-38
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                          Page 12 of 61 PageID 228


CASE:          IN RE BANK OF AMERICA CORP. SECURITIES, DERIVATIVE, AND EMPLOYEE RETIREMENT
               I N C O M E S E C U R I T Y A C T (E R IS A ) L I T I G A T I O N
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    $2.425 billion in cash; significant corporate governance reforms to resolve all claims. This
               recovery is by far the largest shareholder recovery related to the subprime meltdown and credit
               crisis; the single largest securities class action settlement ever resolving a Section 14(a) claim – the
               federal securities provision designed to protect investors against misstatements in connection with a
               proxy solicitation; the largest ever funded by a single corporate defendant for violations of the
               federal securities laws; the single largest settlement of a securities class action in which there was
               neither a financial restatement involved nor a criminal conviction related to the alleged misconduct;
               and one of the 10 largest securities class action recoveries in history.
DESCRIPTION:   The firm represented Co-Lead Plaintiffs the State Teachers Retirement System of Ohio, the Ohio
               Public Employees Retirement System, and the Teacher Retirement System of Texas in this
               securities class action filed on behalf of shareholders of Bank of America Corporation (“BAC”)
               arising from BAC’s 2009 acquisition of Merrill Lynch & Co., Inc. The action alleges that BAC,
               Merrill Lynch, and certain of the companies’ current and former officers and directors violated the
               federal securities laws by making a series of materially false statements and omissions in
               connection with the acquisition. These violations included the alleged failure to disclose
               information regarding billions of dollars of losses which Merrill had suffered before the BAC
               shareholder vote on the proposed acquisition, as well as an undisclosed agreement allowing Merrill
               to pay billions in bonuses before the acquisition closed despite these losses. Not privy to these
               material facts, BAC shareholders voted to approve the acquisition.

CASE:          I N R E N O R T E L N E T W O R K S C O R P O R A T I O N S E C U R I T I E S L I T I G A T I O N ( “N O R T E L II ” )
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    Over $1.07 billion in cash and common stock recovered for the class.
DESCRIPTION:   This securities fraud class action charged Nortel Networks Corporation and certain of its officers
               and directors with violations of the Securities Exchange Act of 1934, alleging that the Defendants
               knowingly or recklessly made false and misleading statements with respect to Nortel’s financial
               results during the relevant period. BLB&G clients the Ontario Teachers’ Pension Plan Board
               and the Treasury of the State of New Jersey and its Division of Investment were appointed as
               Co-Lead Plaintiffs for the Class in one of two related actions (Nortel II), and BLB&G was
               appointed Lead Counsel for the Class. In a historic settlement, Nortel agreed to pay $2.4 billion in
               cash and Nortel common stock (all figures in US dollars) to resolve both matters. Nortel later
               announced that its insurers had agreed to pay $228.5 million toward the settlement, bringing the
               total amount of the global settlement to approximately $2.7 billion, and the total amount of the
               Nortel II settlement to over $1.07 billion.

CASE:          I N R E M E R C K & C O ., I N C . S E C U R I T I E S L I T I G A T I O N
COURT:         United States District Court, District of New Jersey
HIGHLIGHTS:    $1.06 billion recovery for the class.
DESCRIPTION:   This case arises out of misrepresentations and omissions concerning life-threatening risks posed by
               the “blockbuster” Cox-2 painkiller Vioxx, which Merck withdrew from the market in 2004. In
               January 2016, BLB&G achieved a $1.062 billion settlement on the eve of trial after more than 12
               years of hard-fought litigation that included a successful decision at the United States Supreme
               Court. This settlement is the second largest recovery ever obtained in the Third Circuit, one of the
               top 11 securities recoveries of all time, and the largest securities recovery ever achieved against a
               pharmaceutical company. BLB&G represented Lead Plaintiff the Public Employees’ Retirement
               System of Mississippi.




                                                                 8
                                                                                                                                 App-39
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                        Page 13 of 61 PageID 229


CASE:          I N R E M C K E S S O N HB OC, I N C . S E C U R I T I E S L I T I G A T I O N
COURT:         United States District Court for the Northern District of California
HIGHLIGHTS:    $1.05 billion recovery for the class.
DESCRIPTION:   This securities fraud litigation was filed on behalf of purchasers of HBOC, McKesson and
               McKesson HBOC securities, alleging that Defendants misled the investing public concerning
               HBOC’s and McKesson HBOC’s financial results. On behalf of Lead Plaintiff the New York
               State Common Retirement Fund, BLB&G obtained a $960 million settlement from the company;
               $72.5 million in cash from Arthur Andersen; and, on the eve of trial, a $10 million settlement from
               Bear Stearns & Co. Inc., with total recoveries reaching more than $1 billion.


CASE:          IN RE LEHMAN BROTHERS EQUITY/DEBT SECURITIES LITIGATION
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    $735 million in total recoveries.
DESCRIPTION:   Representing the Government of Guam Retirement Fund, BLB&G successfully prosecuted this
               securities class action arising from Lehman Brothers Holdings Inc.’s issuance of billions of dollars
               in offerings of debt and equity securities that were sold using offering materials that contained
               untrue statements and missing material information.
               After four years of intense litigation, Lead Plaintiffs achieved a total of $735 million in recoveries
               consisting of: a $426 million settlement with underwriters of Lehman securities offerings; a $90
               million settlement with former Lehman directors and officers; a $99 million settlement that
               resolves claims against Ernst & Young, Lehman’s former auditor (considered one of the top 10
               auditor settlements ever achieved); and a $120 million settlement that resolves claims against UBS
               Financial Services, Inc. This recovery is truly remarkable not only because of the difficulty in
               recovering assets when the issuer defendant is bankrupt, but also because no financial results were
               restated, and that the auditors never disavowed the statements.


CASE:          HEALTHSOUTH CORPORATION BONDHOLDER LITIGATION
COURT:         United States District Court for the Northern District of Alabama
HIGHLIGHTS:    $804.5 million in total recoveries.

DESCRIPTION:   In this litigation, BLB&G was the appointed Co-Lead Counsel for the bond holder class,
               representing Lead Plaintiff the Retirement Systems of Alabama. This action arose from
               allegations that Birmingham, Alabama based HealthSouth Corporation overstated its earnings at
               the direction of its founder and former CEO Richard Scrushy. Subsequent revelations disclosed
               that the overstatement actually exceeded over $2.4 billion, virtually wiping out all of HealthSouth’s
               reported profits for the prior five years. A total recovery of $804.5 million was obtained in this
               litigation through a series of settlements, including an approximately $445 million settlement for
               shareholders and bondholders, a $100 million in cash settlement from UBS AG, UBS Warburg
               LLC, and individual UBS Defendants (collectively, “UBS”), and $33.5 million in cash from the
               company’s auditor. The total settlement for injured HealthSouth bond purchasers exceeded $230
               million, recouping over a third of bond purchaser damages.




                                                               9
                                                                                                            App-40
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                        Page 14 of 61 PageID 230


CASE:          IN RE CITIGROUP, INC. BOND ACTION LITIGATION
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    $730 million cash recovery; second largest recovery in a litigation arising from the financial crisis.
DESCRIPTION:   In the years prior to the collapse of the subprime mortgage market, Citigroup issued 48 offerings of
               preferred stock and bonds. This securities fraud class action was filed on behalf of purchasers of
               Citigroup bonds and preferred stock alleging that these offerings contained material
               misrepresentations and omissions regarding Citigroup’s exposure to billions of dollars in mortgage-
               related assets, the loss reserves for its portfolio of high-risk residential mortgage loans, and the
               credit quality of the risky assets it held in off-balance sheet entities known as “structured
               investment vehicles.” After protracted litigation lasting four years, we obtained a $730 million cash
               recovery – the second largest securities class action recovery in a litigation arising from the
               financial crisis, and the second largest recovery ever in a securities class action brought on behalf
               of purchasers of debt securities. As Lead Bond Counsel for the Class, BLB&G represented Lead
               Bond Plaintiffs Minneapolis Firefighters’ Relief Association, Louisiana Municipal Police
               Employees’ Retirement System, and Louisiana Sheriffs’ Pension and Relief Fund.


CASE:          IN RE WASHINGTON PUBLIC POWER SUPPLY SYSTEM LITIGATION
COURT:         United States District Court for the District of Arizona
HIGHLIGHTS:    Over $750 million – the largest securities fraud settlement ever achieved at the time.

DESCRIPTION:   BLB&G was appointed Chair of the Executive Committee responsible for litigating the action on
               behalf of the class in this action. The case was litigated for over seven years, and involved an
               estimated 200 million pages of documents produced in discovery; the depositions of 285 fact
               witnesses and 34 expert witnesses; more than 25,000 introduced exhibits; six published district
               court opinions; seven appeals or attempted appeals to the Ninth Circuit; and a three-month jury
               trial, which resulted in a settlement of over $750 million – then the largest securities fraud
               settlement ever achieved.


CASE:          I N R E S C H E R I N G -P L O U G H C O R P O R A T I O N / E N HA NCE S E C U R I T I E S L I T I G A T I O N ; I N R E
               M E R C K & C O ., I N C . V Y T O R I N / Z E T I A S E C U R I T I E S L I T I G A T I O N
COURT:         United States District Court for the District of New Jersey
HIGHLIGHTS:    $688 million in combined settlements (Schering-Plough settled for $473 million; Merck settled for
               $215 million) in this coordinated securities fraud litigations filed on behalf of investors in Merck
               and Schering-Plough.
DESCRIPTION:   After nearly five years of intense litigation, just days before trial, BLB&G resolved the two actions
               against Merck and Schering-Plough, which stemmed from claims that Merck and Schering
               artificially inflated their market value by concealing material information and making false and
               misleading statements regarding their blockbuster anti-cholesterol drugs Zetia and Vytorin.
               Specifically, we alleged that the companies knew that their “ENHANCE” clinical trial of Vytorin
               (a combination of Zetia and a generic) demonstrated that Vytorin was no more effective than the
               cheaper generic at reducing artery thickness. The companies nonetheless championed the
               “benefits” of their drugs, attracting billions of dollars of capital. When public pressure to release
               the results of the ENHANCE trial became too great, the companies reluctantly announced these
               negative results, which we alleged led to sharp declines in the value of the companies’ securities,
               resulting in significant losses to investors. The combined $688 million in settlements (Schering-
               Plough settled for $473 million; Merck settled for $215 million) is the second largest securities
               recovery ever in the Third Circuit, among the top 25 settlements of all time, and among the ten
               largest recoveries ever in a case where there was no financial restatement. BLB&G represented
               Lead Plaintiffs Arkansas Teacher Retirement System, the Public Employees’ Retirement
               System of Mississippi, and the Louisiana Municipal Police Employees’ Retirement System.



                                                               10
                                                                                                                               App-41
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                        Page 15 of 61 PageID 231


CASE:          IN RE LUCENT TECHNOLOGIES, INC. SECURITIES LITIGATION
COURT:         United States District Court for the District of New Jersey
HIGHLIGHTS:    $667 million in total recoveries; the appointment of BLB&G as Co-Lead Counsel is especially
               noteworthy as it marked the first time since the 1995 passage of the Private Securities Litigation
               Reform Act that a court reopened the lead plaintiff or lead counsel selection process to account for
               changed circumstances, new issues and possible conflicts between new and old allegations.
DESCRIPTION:   BLB&G served as Co-Lead Counsel in this securities class action, representing Lead Plaintiffs the
               Parnassus Fund, Teamsters Locals 175 & 505 D&P Pension Trust, Anchorage Police and Fire
               Retirement System and the Louisiana School Employees’ Retirement System. The complaint
               accused Lucent of making false and misleading statements to the investing public concerning its
               publicly reported financial results and failing to disclose the serious problems in its optical
               networking business. When the truth was disclosed, Lucent admitted that it had improperly
               recognized revenue of nearly $679 million in fiscal 2000. The settlement obtained in this case is
               valued at approximately $667 million, and is composed of cash, stock and warrants.


CASE:           I N R E W A C H O V I A P R E F E R R E D S E C U R I T I E S A N D B O N D /N O T E S L I T I G A T I O N
COURT:          United States District Court for the Southern District of New York
HIGHLIGHTS:     $627 million recovery – among the 20 largest securities class action recoveries in history; third
                largest recovery obtained in an action arising from the subprime mortgage crisis.
DESCRIPTION:    This securities class action was filed on behalf of investors in certain Wachovia bonds and
                preferred securities against Wachovia Corp., certain former officers and directors, various
                underwriters, and its auditor, KPMG LLP. The case alleges that Wachovia provided offering
                materials that misrepresented and omitted material facts concerning the nature and quality of
                Wachovia’s multi-billion dollar option-ARM (adjustable rate mortgage) “Pick-A-Pay” mortgage
                loan portfolio, and that Wachovia’s loan loss reserves were materially inadequate. According to
                the Complaint, these undisclosed problems threatened the viability of the financial institution,
                requiring it to be “bailed out” during the financial crisis before it was acquired by Wells Fargo.
                The combined $627 million recovery obtained in the action is among the 20 largest securities
                class action recoveries in history, the largest settlement ever in a class action case asserting only
                claims under the Securities Act of 1933, and one of a handful of securities class action recoveries
                obtained where there were no parallel civil or criminal actions brought by government authorities.
                The firm represented Co-Lead Plaintiffs Orange County Employees Retirement System and
                Louisiana Sheriffs’ Pension and Relief Fund in this action.


CASE:           BEAR STEARNS MORTGAGE PASS-THROUGH LITIGATION
COURT:          United States District Court for the Southern District of New York
HIGHLIGHTS:     $500 million recovery - the largest recovery ever on behalf of purchasers of residential mortgage-
                backed securities.
DESCRIPTION:    BLB&G served as Co-Lead Counsel in this securities action, representing Lead Plaintiffs
                the Public Employees’ Retirement System of Mississippi. The case alleged that Bear Stearns
                & Company, Inc.’s sold mortgage pass-through certificates using false and misleading
                offering documents. The offering documents contained false and misleading statements
                related to, among other things, (1) the underwriting guidelines used to originate the
                mortgage loans underlying the certificates; and (2) the accuracy of the appraisals for the
                properties underlying the certificates. After six years of hard-fought litigation and extensive
                arm’s-length negotiations, the $500 million recovery is the largest settlement in a U.S. class
                action against a bank that packaged and sold mortgage securities at the center of the 2008
                financial crisis.




                                                              11
                                                                                                                             App-42
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 16 of 61 PageID 232


CASE:          GARY HEFLER ET AL. V. WELLS FARGO & COMPANY ET AL
COURT:         United States District Court for the Northern District of California
HIGHLIGHTS:    $480 million recovery - the fourth largest securities settlement ever achieved in the Ninth Circuit
               and the 31st largest securities settlement ever in the United States.
DESCRIPTION:   BLB&G served as Lead Counsel for the Court-appointed Lead Plaintiff Union Asset Management
               Holding, AG in this action, which alleged that Wells Fargo and certain current and former officers
               and directors of Wells Fargo made a series of materially false statements and omissions in
               connection with Wells Fargo’s secret creation of fake or unauthorized client accounts in order to
               hit performance-based compensation goals. After years of presenting a business driven by
               legitimate growth prospects, U.S. regulators revealed in September 2016 that Wells Fargo
               employees were secretly opening millions of potentially unauthorized accounts for existing Wells
               Fargo customers. The Complaint alleged that these accounts were opened in order to hit
               performance targets and inflate the “cross-sell” metrics that investors used to measure Wells
               Fargo’s financial health and anticipated growth. When the market learned the truth about Wells
               Fargo’s violation of its customers’ trust and failure to disclose reliable information to its investors,
               the price of Wells Fargo’s stock dropped, causing substantial investor losses.

CASE:          OHIO PUBLIC EMPLOYEES RETIREMENT SYSTEM V. FREDDIE MAC
COURT:         United States District Court for the Southern District of Ohio
HIGHLIGHTS:    $410 million settlement.
DESCRIPTION:   This securities fraud class action was filed on behalf of the Ohio Public Employees Retirement
               System and the State Teachers Retirement System of Ohio alleging that Federal Home Loan
               Mortgage Corporation (“Freddie Mac”) and certain of its current and former officers issued false
               and misleading statements in connection with the company’s previously reported financial results.
               Specifically, the Complaint alleged that the Defendants misrepresented the company’s operations
               and financial results by having engaged in numerous improper transactions and accounting
               machinations that violated fundamental GAAP precepts in order to artificially smooth the
               company’s earnings and to hide earnings volatility. In connection with these improprieties,
               Freddie Mac restated more than $5 billion in earnings. A settlement of $410 million was reached
               in the case just as deposition discovery had begun and document review was complete.

CASE:          IN RE REFCO, INC. SECURITIES LITIGATION
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    Over $407 million in total recoveries.
DESCRIPTION:   The lawsuit arises from the revelation that Refco, a once prominent brokerage, had for years
               secreted hundreds of millions of dollars of uncollectible receivables with a related entity
               controlled by Phillip Bennett, the company’s Chairman and Chief Executive Officer. This
               revelation caused the stunning collapse of the company a mere two months after its initial public
               offering of common stock. As a result, Refco filed one of the largest bankruptcies in U.S. history.
               Settlements have been obtained from multiple company and individual defendants, resulting in a
               total recovery for the class of over $407 million. BLB&G represented Co-Lead Plaintiff RH
               Capital Associates LLC.




                                                     12
                                                                                                          App-43
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 17 of 61 PageID 233



               C ORPORATE G OVERNANCE                AND    S HAREHOLDERS ’ R IGHTS
CASE:          CITY OF MONROE EMPLOYEES’ RETIREMENT SYSTEM, DERIVATIVELY ON BEHALF
               OF TWENTY-FIRST CENTURY FOX, INC. V. RUPERT MURDOCH, ET AL.
COURT:         Delaware Court of Chancery
HIGHLIGHTS:    Landmark derivative litigation establishes unprecedented, independent Board-level council to
               ensure employees are protected from workplace harassment while recouping $90 million for the
               company’s coffers.
DESCRIPTION:   Before the birth of the #metoo movement, BLB&G led the prosecution of an unprecedented
               shareholder derivative litigation against Fox News parent 21st Century Fox, Inc. arising from the
               systemic sexual and workplace harassment at the embattled network. After nearly 18 months of
               litigation, discovery and negotiation related to the shocking misconduct and the Board’s extensive
               alleged governance failures, the parties unveil a landmark settlement with two key components: 1)
               the first ever Board-level watchdog of its kind – the “Fox News Workplace Professionalism and
               Inclusion Council” of experts (WPIC) – majority independent of the Murdochs, the Company and
               Board; and 2) one of the largest financial recoveries – $90 million – ever obtained in a pure
               corporate board oversight dispute. The WPIC is expected to serve as a model for public companies
               in all industries. The firm represented 21st Century Fox shareholder the City of Monroe
               (Michigan) Employees’ Retirement System.


CASE:          IN RE ALLERGAN, INC. PROXY VIOLATION SECURITIES LITIGATION
COURT:         United States District Court for the Central District of California
HIGHLIGHTS:    Litigation recovered over $250 million for investors in challenging unprecedented insider trading
               scheme by billionaire hedge fund manager Bill Ackman.
DESCRIPTION:   As alleged in groundbreaking litigation, billionaire hedge fund manager Bill Ackman and his
               Pershing Square Capital Management fund secretly acquire a near 10% stake in pharmaceutical
               concern Allergan, Inc. as part of an unprecedented insider trading scheme by Ackman and Valeant
               Pharmaceuticals International, Inc. What Ackman knew – but investors did not – was that in the
               ensuing weeks, Valeant would be launching a hostile bid to acquire Allergan shares at a far higher
               price. Ackman enjoys a massive instantaneous profit upon public news of the proposed
               acquisition, and the scheme works for both parties as he kicks back hundreds of millions of his
               insider-trading proceeds to Valeant after Allergan agreed to be bought by a rival bidder. After a
               ferocious three-year legal battle over this attempt to circumvent the spirit of the U.S. securities
               laws, BLB&G obtains a $250 million settlement for Allergan investors, and creates precedent to
               prevent similar such schemes in the future. The Plaintiffs in this action were the State Teachers
               Retirement System of Ohio, the Iowa Public Employees Retirement System, and Patrick T.
               Johnson.




                                                     13
                                                                                                       App-44
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 18 of 61 PageID 234


CASE:          UNITEDHEALTH GROUP, INC. SHAREHOLDER DERIVATIVE LITIGATION
COURT:         United States District Court for the District of Minnesota

HIGHLIGHTS:    Litigation recovered over $920 million in ill-gotten compensation directly from former officers for
               their roles in illegally backdating stock options, while the company agreed to far-reaching reforms
               aimed at curbing future executive compensation abuses.
DESCRIPTION:   This shareholder derivative action filed against certain current and former executive officers and
               members of the Board of Directors of UnitedHealth Group, Inc. alleged that the Defendants
               obtained, approved and/or acquiesced in the issuance of stock options to senior executives that
               were unlawfully backdated to provide the recipients with windfall compensation at the direct
               expense of UnitedHealth and its shareholders. The firm recovered over $920 million in ill-gotten
               compensation directly from the former officer Defendants – the largest derivative recovery in
               history. As feature coverage in The New York Times indicated, “investors everywhere should
               applaud [the UnitedHealth settlement]…. [T]he recovery sets a standard of behavior for other
               companies and boards when performance pay is later shown to have been based on ephemeral
               earnings.” The Plaintiffs in this action were the St. Paul Teachers’ Retirement Fund
               Association, the Public Employees’ Retirement System of Mississippi, the Jacksonville Police
               & Fire Pension Fund, the Louisiana Sheriffs’ Pension & Relief Fund, the Louisiana Municipal
               Police Employees’ Retirement System and Fire & Police Pension Association of Colorado.


CASE:          CAREMARK MERGER LITIGATION
COURT:         Delaware Court of Chancery – New Castle County

HIGHLIGHTS:    Landmark Court ruling orders Caremark’s board to disclose previously withheld information,
               enjoins shareholder vote on CVS merger offer, and grants statutory appraisal rights to Caremark
               shareholders. The litigation ultimately forced CVS to raise offer by $7.50 per share, equal to more
               than $3.3 billion in additional consideration to Caremark shareholders.
DESCRIPTION:   Commenced on behalf of the Louisiana Municipal Police Employees’ Retirement System and
               other shareholders of Caremark RX, Inc. (“Caremark”), this shareholder class action accused the
               company’s directors of violating their fiduciary duties by approving and endorsing a proposed
               merger with CVS Corporation (“CVS”), all the while refusing to fairly consider an alternative
               transaction proposed by another bidder. In a landmark decision, the Court ordered the Defendants
               to disclose material information that had previously been withheld, enjoined the shareholder vote
               on the CVS transaction until the additional disclosures occurred, and granted statutory appraisal
               rights to Caremark’s shareholders—forcing CVS to increase the consideration offered to
               shareholders by $7.50 per share in cash (over $3 billion in total).



CASE:          IN RE PFIZER INC. SHAREHOLDER DERIVATIVE LITIGATION
COURT:         United States District Court for the Southern District of New York

HIGHLIGHTS:    Landmark settlement in which Defendants agreed to create a new Regulatory and Compliance
               Committee of the Pfizer Board that will be supported by a dedicated $75 million fund.
DESCRIPTION:   In the wake of Pfizer’s agreement to pay $2.3 billion as part of a settlement with the U.S.
               Department of Justice to resolve civil and criminal charges relating to the illegal marketing of at
               least 13 of the company’s most important drugs (the largest such fine ever imposed), this
               shareholder derivative action was filed against Pfizer’s senior management and Board alleging they
               breached their fiduciary duties to Pfizer by, among other things, allowing unlawful promotion of
               drugs to continue after receiving numerous “red flags” that Pfizer’s improper drug marketing was
               systemic and widespread. The suit was brought by Court-appointed Lead Plaintiffs Louisiana
               Sheriffs’ Pension and Relief Fund and Skandia Life Insurance Company, Ltd. In an
               unprecedented settlement reached by the parties, the Defendants agreed to create a new Regulatory


                                                    14
                                                                                                       App-45
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                      Page 19 of 61 PageID 235


               and Compliance Committee of the Pfizer Board of Directors (the “Regulatory Committee”) to
               oversee and monitor Pfizer’s compliance and drug marketing practices and to review the
               compensation policies for Pfizer’s drug sales related employees.


CASE:          M I L L E R E T A . V . I AC / I N T E R A C T I V E C O R P E T A L .
COURT:         Delaware Court of Chancery
HIGHLIGHTS:    Litigation shuts down efforts by controlling shareholders to obtain “dynastic control” of the
               company through improper stock class issuances, setting valuable precedent and sending strong
               message to boards and management in all sectors that such moves will not go unchallenged.
DESCRIPTION:   BLB&G obtained this landmark victory for shareholder rights against IAC/InterActiveCorp and its
               controlling shareholder and chairman, Barry Diller. For decades, activist corporate founders and
               controllers seek ways to entrench their position atop the corporate hierarchy by granting themselves
               and other insiders “supervoting rights.” Diller lays out a proposal to introduce a new class of non-
               voting stock to entrench “dynastic control” of IAC within the Diller family. BLB&G litigation on
               behalf of IAC shareholders ends in capitulation with the Defendants effectively conceding the case
               by abandoning the proposal. This becomes critical corporate governance precedent, given trend of
               public companies to introduce “low” and “no-vote” share classes, which diminish shareholder
               rights, insulate management from accountability, and can distort managerial incentives by
               providing controllers voting power out of line with their actual economic interests in public
               companies.


CASE:          IN RE DELPHI FINANCIAL GROUP SHAREHOLDER LITIGATION
COURT:         Delaware Court of Chancery – New Castle County
HIGHLIGHTS:    Dominant shareholder is blocked from collecting a payoff at the expense of minority investors.
DESCRIPTION:   As the Delphi Financial Group prepared to be acquired by Tokio Marine Holdings Inc., the conduct
               of Delphi’s founder and controlling shareholder drew the scrutiny of BLB&G and its institutional
               investor clients for improperly using the transaction to expropriate at least $55 million at the
               expense of the public shareholders. BLB&G aggressively litigated this action and obtained a
               settlement of $49 million for Delphi’s public shareholders. The settlement fund is equal to about
               90% of recoverable Class damages – a virtually unprecedented recovery.


CASE:          QUALCOMM BOOKS & RECORDS LITIGATION
COURT:         Delaware Court of Chancery – New Castle County
HIGHLIGHTS:    Novel use of “books and records” litigation enhances disclosure of political spending and
               transparency.
DESCRIPTION:   The U.S. Supreme Court’s controversial 2010 opinion in Citizens United v. FEC made it easier for
               corporate directors and executives to secretly use company funds – shareholder assets – to support
               personally favored political candidates or causes. BLB&G prosecuted the first-ever “books and
               records” litigation to obtain disclosure of corporate political spending at our client’s portfolio
               company – technology giant Qualcomm Inc. – in response to Qualcomm’s refusal to share the
               information. As a result of the lawsuit, Qualcomm adopted a policy that provides its shareholders
               with comprehensive disclosures regarding the company’s political activities and places Qualcomm
               as a standard-bearer for other companies.




                                                                15
                                                                                                          App-46
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                  Page 20 of 61 PageID 236


CASE:          IN RE NEWS CORP. SHAREHOLDER DERIVATIVE LITIGATION
COURT:         Delaware Court of Chancery – Kent County
HIGHLIGHTS:    An unprecedented settlement in which News Corp. recoups $139 million and enacts significant
               corporate governance reforms that combat self-dealing in the boardroom.
DESCRIPTION:   Following News Corp.’s 2011 acquisition of a company owned by News Corp. Chairman and CEO
               Rupert Murdoch’s daughter, and the phone-hacking scandal within its British newspaper division,
               we filed a derivative litigation on behalf of the company because of institutional shareholder
               concern with the conduct of News Corp.’s management. We ultimately obtained an unprecedented
               settlement in which News Corp. recouped $139 million for the company coffers, and agreed to
               enact corporate governance enhancements to strengthen its compliance structure, the independence
               and functioning of its board, and the compensation and clawback policies for management.


CASE:          I N R E ACS S H A R E H O L D E R L I T I G A T I O N (X E R O X )
COURT:         Delaware Court of Chancery – New Castle County
HIGHLIGHTS:    BLB&G challenged an attempt by ACS CEO to extract a premium on his stock not shared with the
               company’s public shareholders in a sale of ACS to Xerox. On the eve of trial, BLB&G obtained a
               $69 million recovery, with a substantial portion of the settlement personally funded by the CEO.
DESCRIPTION:   Filed on behalf of the New Orleans Employees’ Retirement System and similarly situated
               shareholders of Affiliated Computer Service, Inc., this action alleged that members of the Board of
               Directors of ACS breached their fiduciary duties by approving a merger with Xerox Corporation
               which would allow Darwin Deason, ACS’s founder and Chairman and largest stockholder, to
               extract hundreds of millions of dollars of value that rightfully belongs to ACS’s public shareholders
               for himself. Per the agreement, Deason’s consideration amounted to over a 50% premium when
               compared to the consideration paid to ACS’s public stockholders. The ACS Board further breached
               its fiduciary duties by agreeing to certain deal protections in the merger agreement that essentially
               locked up the transaction between ACS and Xerox. After seeking a preliminary injunction to enjoin
               the deal and engaging in intense discovery and litigation in preparation for a looming trial date,
               Plaintiffs reached a global settlement with Defendants for $69 million. In the settlement, Deason
               agreed to pay $12.8 million, while ACS agreed to pay the remaining $56.1 million.



CASE:          IN RE DOLLAR GENERAL CORPORA TION SHAREHOLDER LITIGATION
COURT:         Sixth Circuit Court for Davidson County, Tennessee; Twentieth Judicial District, Nashville
HIGHLIGHTS:    Holding Board accountable for accepting below-value “going private” offer.
DESCRIPTION:   A Nashville, Tennessee corporation that operates retail stores selling discounted household goods,
               in early March 2007, Dollar General announced that its Board of Directors had approved the
               acquisition of the company by the private equity firm Kohlberg Kravis Roberts & Co. (“KKR”).
               BLB&G, as Co-Lead Counsel for the City of Miami General Employees’ & Sanitation
               Employees’ Retirement Trust, filed a class action complaint alleging that the “going private”
               offer was approved as a result of breaches of fiduciary duty by the board and that the price offered
               by KKR did not reflect the fair value of Dollar General’s publicly-held shares. On the eve of the
               summary judgment hearing, KKR agreed to pay a $40 million settlement in favor of the
               shareholders, with a potential for $17 million more for the Class.




                                                             16
                                                                                                        App-47
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                      Page 21 of 61 PageID 237


CASE:          LANDRY’S RESTAURANTS, INC. SHA REHOLDER LITIGATION
COURT:         Delaware Court of Chancery – New Castle County
HIGHLIGHTS:    Protecting shareholders from predatory CEO’s multiple attempts to take control of Landry’s
               Restaurants through improper means. Our litigation forced the CEO to increase his buyout offer by
               four times the price offered and obtained an additional $14.5 million cash payment for the class.
DESCRIPTION:   In this derivative and shareholder class action, shareholders alleged that Tilman J. Fertitta –
               chairman, CEO and largest shareholder of Landry’s Restaurants, Inc. – and its Board of Directors
               stripped public shareholders of their controlling interest in the company for no premium and
               severely devalued remaining public shares in breach of their fiduciary duties. BLB&G’s
               prosecution of the action on behalf of Plaintiff Louisiana Municipal Police Employees’
               Retirement System resulted in recoveries that included the creation of a settlement fund composed
               of $14.5 million in cash, as well as significant corporate governance reforms and an increase in
               consideration to shareholders of the purchase price valued at $65 million.




                                                   17
                                                                                                     App-48
 Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                                 Page 22 of 61 PageID 238




               E MPLOYMENT D ISCRIMINATI ON                        AND     C IVI L R IGHTS

CASE:          ROBERTS V. TEXACO, INC.
COURT:         United States District Court for the Southern District of New York
HIGHLIGHTS:    BLB&G recovered $170 million on behalf of Texaco’s African-American employees and
               engineered the creation of an independent “Equality and Tolerance Task Force” at the company.
DESCRIPTION:   Six highly qualified African-American employees filed a class action complaint against Texaco
               Inc. alleging that the company failed to promote African-American employees to upper level jobs
               and failed to compensate them fairly in relation to Caucasian employees in similar positions.
               BLB&G’s prosecution of the action revealed that African-Americans were significantly under-
               represented in high level management jobs and that Caucasian employees were promoted more
               frequently and at far higher rates for comparable positions within the company. The case settled
               for over $170 million, and Texaco agreed to a Task Force to monitor its diversity programs for five
               years – a settlement described as the most significant race discrimination settlement in history.

CASE:          E CO A - G M AC /N MA C/ F O R D /T O Y O T A / C H R Y S L E R - C O N S U M E R F I N A N C E
               DISCRIMINATION LITIGATION
COURT:         Multiple jurisdictions

HIGHLIGHTS:    Landmark litigation in which financing arms of major auto manufacturers are compelled to cease
               discriminatory “kick-back” arrangements with dealers, leading to historic changes to auto financing
               practices nationwide.
DESCRIPTION:   The cases involve allegations that the lending practices of General Motors Acceptance Corporation,
               Nissan Motor Acceptance Corporation, Ford Motor Credit, Toyota Motor Credit and
               DaimlerChrysler Financial cause African-American and Hispanic car buyers to pay millions of
               dollars more for car loans than similarly situated white buyers. At issue is a discriminatory
               kickback system under which minorities typically pay about 50% more in dealer mark-up which is
               shared by auto dealers with the Defendants.
                NM AC: The United States District Court for the Middle District of Tennessee granted final
                approval of the settlement of the class action against Nissan Motor Acceptance Corporation
                (“NMAC”) in which NMAC agreed to offer pre-approved loans to hundreds of thousands of
                current and potential African-American and Hispanic NMAC customers, and limit how much it
                raises the interest charged to car buyers above the company’s minimum acceptable rate.
                GM AC: The United States District Court for the Middle District of Tennessee granted final
                approval of a settlement of the litigation against General Motors Acceptance Corporation
                (“GMAC”) in which GMAC agreed to take the historic step of imposing a 2.5% markup cap on
                loans with terms up to 60 months, and a cap of 2% on extended term loans. GMAC also agreed to
                institute a substantial credit pre-approval program designed to provide special financing rates to
                minority car buyers with special rate financing.
                D A I M L E R C H R Y S L E R : The United States District Court for the District of New Jersey granted
                final approval of the settlement in which DaimlerChrysler agreed to implement substantial
                changes to the company’s practices, including limiting the maximum amount of mark-up dealers
                may charge customers to between 1.25% and 2.5% depending upon the length of the customer’s
                loan. In addition, the company agreed to send out pre-approved credit offers of no-markup loans
                to African-American and Hispanic consumers, and contribute $1.8 million to provide consumer
                education and assistance programs on credit financing.
                F O R D M O T O R C R E D I T : The United States District Court for the Southern District of New York
                granted final approval of a settlement in which Ford Credit agreed to make contract disclosures
                informing consumers that the customer’s Annual Percentage Rate (“APR”) may be negotiated and
                that sellers may assign their contracts and retain rights to receive a portion of the finance charge.



                                                          18
                                                                                                                 App-49
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 23 of 61 PageID 239




           CLIENTS AND FEES
           We are firm believers in the contingency fee as a socially useful, productive and satisfying basis of
           compensation for legal services, particularly in litigation. Wherever appropriate, even with our
           corporate clients, we will encourage retention where our fee is contingent on the outcome of the
           litigation. This way, it is not the number of hours worked that will determine our fee, but rather
           the result achieved for our client.

           Our clients include many large and well known financial and lending institutions and pension
           funds, as well as privately-held companies that are attracted to our firm because of our reputation,
           expertise and fee structure. Most of the firm’s clients are referred by other clients, law firms and
           lawyers, bankers, investors and accountants. A considerable number of clients have been referred
           to the firm by former adversaries. We have always maintained a high level of independence and
           discretion in the cases we decide to prosecute. As a result, the level of personal satisfaction and
           commitment to our work is high.




                                                   19
                                                                                                      App-50
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 24 of 61 PageID 240



           IN THE PUBLIC INTEREST
           Bernstein Litowitz Berger & Grossmann LLP is guided by two principles: excellence in legal
           work and a belief that the law should serve a socially useful and dynamic purpose. Attorneys at
           the firm are active in academic, community and pro bono activities, as well as participating as
           speakers and contributors to professional organizations. In addition, the firm endows a public
           interest law fellowship and sponsors an academic scholarship at Columbia Law School.

           B ERNSTEIN L ITOWITZ B ERGER & G ROSSMANN P UBLIC I NTEREST L AW F ELLOWS
           C O L U M B I A L A W S C H O O L − BLB&G is committed to fighting discrimination and effecting
           positive social change. In support of this commitment, the firm donated funds to Columbia Law
           School to create the Bernstein Litowitz Berger & Grossmann Public Interest Law Fellowship.
           This newly endowed fund at Columbia Law School will provide Fellows with 100% of the
           funding needed to make payments on their law school tuition loans so long as such graduates
           remain in the public interest law field. The BLB&G Fellows are able to begin their careers free of
           any school debt if they make a long-term commitment to public interest law.

           FIRM   S P O N S O R S H I P O F H ER J U S T I CE
           N E W Y O R K , N Y − BLB&G is a sponsor of Her Justice, a non-profit organization in New York
           City dedicated to providing pro bono legal representation to indigent women, principally battered
           women, in connection with the myriad legal problems they face. The organization trains and
           supports the efforts of New York lawyers who provide pro bono counsel to these women. Several
           members and associates of the firm volunteer their time to help women who need divorces from
           abusive spouses, or representation on issues such as child support, custody and visitation. To read
           more about Her Justice, visit the organization’s website at www.herjustice.org.

           T H E P AU L M. B ER N S T E I N M E MO R I A L S C HO L A R S HI P
           C O L U M B I A L A W S C H O O L − Paul M. Bernstein was the founding senior partner of the firm. Mr.
           Bernstein led a distinguished career as a lawyer and teacher and was deeply committed to the
           professional and personal development of young lawyers. The Paul M. Bernstein Memorial
           Scholarship Fund is a gift of the firm and the family and friends of Paul M. Bernstein, and is
           awarded annually to one or more second-year students selected for their academic excellence in
           their first year, professional responsibility, financial need and contributions to the community.

           FIRM    S P O N S O R S H I P O F C I T Y Y E A R N EW Y O R K
           N E W Y O R K , N Y − BLB&G is also an active supporter of City Year New York, a division of
           AmeriCorps. The program was founded in 1988 as a means of encouraging young people to
           devote time to public service and unites a diverse group of volunteers for a demanding year of
           full-time community service, leadership development and civic engagement. Through their
           service, corps members experience a rite of passage that can inspire a lifetime of citizenship and
           build a stronger democracy.

           M AX W. B E R GE R P R E -L A W P R O G R A M
           B A R U C H C O L L E G E − In order to encourage outstanding minority undergraduates to pursue a
           meaningful career in the legal profession, the Max W. Berger Pre-Law Program was established at
           Baruch College. Providing workshops, seminars, counseling and mentoring to Baruch students,
           the program facilitates and guides them through the law school research and application process,
           as well as placing them in appropriate internships and other pre-law working environments.

           N E W Y O R K S AY S T H A N K Y O U F O U N D A T I O N
           N E W Y O R K , N Y − Founded in response to the outpouring of love shown to New York City by
           volunteers from all over the country in the wake of the 9/11 attacks, The New York Says Thank
           You Foundation sends volunteers from New York City to help rebuild communities around the
           country affected by disasters. BLB&G is a corporate sponsor of NYSTY and its goals are a
           heartfelt reflection of the firm’s focus on community and activism.


                                                   20
                                                                                                        App-51
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 25 of 61 PageID 241




           OUR ATTORNEYS

           M EMBERS

           M A X W. B E R G E R , the firm’s senior founding partner, supervises BLB&G’s litigation practice
           and prosecutes class and individual actions on behalf of the firm’s clients.

           Max has litigated many of the firm’s most high-profile and significant cases, and has negotiated
           seven of the largest securities fraud settlements in history, each in excess of a billion dollars:
           Cendant ($3.3 billion); Citigroup–WorldCom ($2.575 billion); Bank of America/Merrill Lynch
           ($2.4 billion); JPMorgan Chase–WorldCom ($2 billion); Nortel ($1.07 billion); Merck ($1.06
           billion); and McKesson ($1.05 billion). In addition, he has prosecuted seminal cases establishing
           precedents which have increased market integrity and transparency; held corporate wrongdoers
           accountable; and improved corporate business practices in groundbreaking ways.

           Most recently, before the #metoo movement came alive, on behalf of an institutional investor
           client, he handled the prosecution of an unprecedented shareholder derivative litigation against
           Fox News parent 21st Century Fox, Inc. arising from the systemic sexual and workplace
           harassment at the embattled network. After nearly 18 months of litigation, discovery and
           negotiation related to the shocking misconduct and the Board’s extensive alleged governance
           failures, the parties unveiled a landmark settlement with two key components: 1) the first ever
           Board-level watchdog of its kind – the “Fox News Workplace Professionalism and Inclusion
           Council” of experts (WPIC) – majority independent of the Murdochs, the Company and Board;
           and 2) one of the largest financial recoveries – $90 million – ever obtained in a pure corporate
           board oversight dispute. The WPIC is expected to serve as a model for public companies in all
           industries.

           Max’s work has garnered him extensive media attention, and he has been the subject of feature
           articles in a variety of major media publications. Unique among his peers, The New York Times
           highlighted his remarkable track record in an October 2012 profile entitled “Investors’ Billion-
           Dollar Fraud Fighter,” which also discussed his role in the Bank of America/Merrill Lynch Merger
           litigation. In 2011, Max was twice profiled by The American Lawyer for his role in negotiating a
           $627 million recovery on behalf of investors in the In re Wachovia Corp. Securities Litigation,
           and a $516 million recovery in In re Lehman Brothers Equity/Debt Securities Litigation.
           Previously, Max’s role in the WorldCom case generated extensive media coverage including
           feature articles in BusinessWeek and The American Lawyer. For his outstanding efforts on behalf
           of WorldCom investors, The National Law Journal profiled Max (one of only eleven attorneys
           selected nationwide) in its annual 2005 “Winning Attorneys” section. He was subsequently
           featured in a 2006 New York Times article, “A Class-Action Shuffle,” which assessed the evolving
           landscape of the securities litigation arena.

           One of the “100 Most Influential Lawyers in America”

           Widely recognized as the “Dean” of the US plaintiff securities bar for his remarkable career and
           his professional excellence, Max has a distinguished and unparalleled list of honors to his name.

           He was selected one of the “100 Most Influential Lawyers in America” by The National Law
           Journal for being “front and center” in holding Wall Street banks accountable and obtaining over
           $5 billion in cases arising from the subprime meltdown, and for his work as a “master negotiator”
           in obtaining numerous multi-billion dollar recoveries for investors.




                                                   21
                                                                                                     App-52
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 26 of 61 PageID 242



           Described as a “standard-bearer” for the profession in a career spanning over 40 years, he was the
           recipient of Chambers USA’s award for Outstanding Contribution to the Legal Profession. In
           presenting this prestigious honor, Chambers recognized Max’s “numerous headline-grabbing
           successes,” as well as his unique stature among colleagues – “warmly lauded by his peers, who are
           nevertheless loath to find him on the other side of the table.”

           Benchmark Litigation recently inducted him into its exclusive “Hall of Fame” in recognition of his
           career achievements and impact on the field of securities litigation.

           Upon its tenth anniversary, Lawdragon named Max a “Lawdragon Legend” for his
           accomplishments.

           Law360 published a special feature discussing his life and career as a “Titan of the Plaintiffs Bar,”
           named him one of only six litigators selected nationally as a “Legal MVP,” and selected him as
           one of “10 Legal Superstars” nationally for his work in securities litigation.

           Since their various inceptions, Max has been recognized as a litigation “star” and leading lawyer
           in his field by Chambers USA and the Legal 500 US Guide, as well as being named one of the
           “500 Leading Lawyers in America” and “100 Securities Litigators You Need to Know” by
           Lawdragon magazine. Further, The Best Lawyers in America® guide has named Max a leading
           lawyer in his field.

           Max has lectured extensively for many professional organizations, and is the author and co-author
           of numerous articles on developments in the securities laws and their implications for public
           policy. He was chosen, along with several of his BLB&G partners, to author the first chapter –
           “Plaintiffs’ Perspective” – of Lexis/Nexis’s seminal industry guide Litigating Securities Class
           Actions. An esteemed voice on all sides of the legal and financial markets, in 2008 the SEC and
           Treasury called on Max to provide guidance on regulatory changes being considered as the
           accounting profession was experiencing tectonic shifts shortly before the financial crisis.

           Max also serves the academic community in numerous capacities. A long-time member of the
           Board of Trustees of Baruch College, he served as the President of the Baruch College Fund from
           2015-2019 and now serves as its Chairman. A member of the Dean’s Council to Columbia Law
           School, he has taught Profession of Law, an ethics course at Columbia Law School, and serves on
           the Advisory Board of Columbia Law School’s Center on Corporate Governance. In May 2006, he
           was presented with the Distinguished Alumnus Award for his contributions to Baruch College,
           and in February 2011, Max received Columbia Law School’s most prestigious and highest honor,
           “The Medal for Excellence.” This award is presented annually to Columbia Law School alumni
           who exemplify the qualities of character, intellect, and social and professional responsibility that
           the Law School seeks to instill in its students. As a recipient of this award, Max was profiled in
           the Fall 2011 issue of Columbia Law School Magazine.

           Max is currently a member of the New York State, New York City and American Bar
           Associations, and is a member of the Federal Bar Council. He is also a member of the American
           Law Institute and an Advisor to its Restatement Third: Economic Torts project. In addition, Max
           is a member of the Board of Trustees of The Supreme Court Historical Society.

           In 1997, Max was honored for his outstanding contribution to the public interest by Trial Lawyers
           for Public Justice, where he was a “Trial Lawyer of the Year” Finalist for his work in Roberts, et
           al. v. Texaco, the celebrated race discrimination case, on behalf of Texaco’s African-American
           employees.

           Among numerous charitable and volunteer works, Max is a significant and long-time contributor
           to Her Justice, a non-profit organization in New York City dedicated to providing pro bono legal
           representation to indigent women, principally battered women, in connection with the many legal
           problems they face. He is also an active supporter of City Year New York, a division of


                                                   22
                                                                                                       App-53
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 27 of 61 PageID 243


           AmeriCorps, dedicated to encouraging young people to devote time to public service. In July
           2005, he was named City Year New York’s “Idealist of the Year,” for his commitment to, service
           for, and work in the community. He and his wife, Dale, have also established the Dale and Max
           Berger Public Interest Law Fellowship at Columbia Law School and the Max Berger Pre-Law
           Program at Baruch College.

           EDUCATION: Baruch College-City University of New York, B.B.A., Accounting, 1968;
           President of the student body and recipient of numerous awards. Columbia Law School, J.D.,
           1971, Editor of the Columbia Survey of Human Rights Law.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York; U.S. Court of Appeals for the Second Circuit; U.S. Supreme Court.


           G E R A L D H. S I L K ’S practice focuses on representing institutional investors on matters
           involving federal and state securities laws, accountants’ liability, and the fiduciary duties of
           corporate officials, as well as general commercial and corporate litigation. He also advises
           creditors on their rights with respect to pursuing affirmative claims against officers and directors,
           as well as professionals both inside and outside the bankruptcy context.

           Jerry is a member of the firm’s Management Committee. He also oversees the firm’s New Matter
           department in which he, along with a group of attorneys, financial analysts and investigators,
           counsels institutional clients on potential legal claims. In December 2014, Jerry was recognized by
           The National Law Journal in its inaugural list of “Litigation Trailblazers & Pioneers” — one of
           several lawyers in the country who have changed the practice of litigation through the use of
           innovative legal strategies — in no small part for the critical role he has played in helping the
           firm’s investor clients recover billions of dollars in litigation arising from the financial crisis,
           among other matters.

           In addition, Lawdragon magazine, which has named Jerry one of the “100 Securities Litigators
           You Need to Know,” one of the “500 Leading Lawyers in America” and one of America’s top 500
           “rising stars” in the legal profession, also recently profiled him as part of its “Lawyer Limelight”
           special series, discussing subprime litigation, his passion for plaintiffs’ work and the trends he
           expects to see in the market. Recognized as one of an elite group of notable practitioners by
           Chambers USA, he is also named as a “Litigation Star” by Benchmark, is recommended by the
           Legal 500 USA guide in the field of plaintiffs’ securities litigation, and has been selected as a New
           York Super Lawyer every year since 2006.

           In the wake of the financial crisis, he advised the firm’s institutional investor clients on their rights
           with respect to claims involving transactions in residential mortgage-backed securities (RMBS)
           and collateralized debt obligations (CDOs). His work representing Cambridge Place Investment
           Management Inc. on claims under Massachusetts state law against numerous investment banks
           arising from the purchase of billions of dollars of RMBS was featured in a 2010 New York Times
           article by Gretchen Morgenson titled, “Mortgage Investors Turn to State Courts for Relief.”

           Jerry also represented the New York State Teachers’ Retirement System in a securities litigation
           against the General Motors Company arising from a series of misrepresentations concerning the
           quality, safety, and reliability of the Company’s cars, which resulted in a $300 million settlement.
           He was also a member of the litigation team responsible for the successful prosecution of In re
           Cendant Corporation Securities Litigation in the District of New Jersey, which was resolved for
           $3.2 billion. In addition, he is actively involved in the firm’s prosecution of highly successful
           M&A litigation, representing shareholders in widely publicized lawsuits, including the litigation
           arising from the proposed acquisition of Caremark Rx, Inc. by CVS Corporation — which led to
           an increase of approximately $3.5 billion in the consideration offered to shareholders.




                                                    23
                                                                                                           App-54
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                           Page 28 of 61 PageID 244


           A graduate of the Wharton School of Business, University of Pennsylvania and Brooklyn Law
           School, in 1995-96, Jerry served as a law clerk to the Hon. Steven M. Gold, U.S.M.J., in the
           United States District Court for the Eastern District of New York.

           Jerry lectures to institutional investors at conferences throughout the country, and has written or
           substantially contributed to several articles on developments in securities and corporate law,
           including “Improving Multi-Jurisdictional, Merger-Related Litigation,” American Bar Association
           (February 2011); “The Compensation Game,” Lawdragon, Fall 2006; “Institutional Investors as
           Lead Plaintiffs: Is There A New And Changing Landscape?,” 75 St. John’s Law Review 31
           (Winter 2001); “The Duty To Supervise, Poser, Broker-Dealer Law and Regulation,” 3rd Ed.
           2000, Chapter 15; “Derivative Litigation In New York after Marx v. Akers,” New York Business
           Law Journal, Vol. 1, No. 1 (Fall 1997).

           He has also been a commentator for the business media on television and in print. Among other
           outlets, he has appeared on NBC’s Today, and CNBC’s Power Lunch, Morning Call, and
           Squawkbox programs, as well as being featured in The New York Times, Financial Times,
           Bloomberg, The National Law Journal, and the New York Law Journal.

           EDUCATION: Wharton School of the University of Pennsylvania, B.S., Economics, 1991.
           Brooklyn Law School, J.D., cum laude, 1995.

           BAR ADMISSIONS: New York; U.S. District Courts for the Southern and Eastern Districts of
           New York.


           S A L V A T O R E J. G R A Z I A N O is widely recognized as one of the top securities litigators in the
           country. He has served as lead trial counsel in a wide variety of major securities fraud class
           actions, recovering billions of dollars on behalf of institutional investors and hedge fund clients.

           Over the course of his distinguished career, Sal has successfully litigated many high-profile cases,
           including: Merck & Co., Inc. (Vioxx) Sec. Litig.(D.N.J.); In re Schering-Plough Corp./
           ENHANCE Sec. Litig. (D.N.J.); New York State Teachers’ Retirement System v. General Motors
           Co. (E.D. Mich.); In re MF Global Holdings Limited Sec. Litig. (S.D.N.Y); In re Raytheon Sec.
           Litig. (D. Mass.); In re Refco Sec. Litig. (S.D.N.Y.); In re MicroStrategy, Inc. Sec. Litig. (E.D.
           Va.); In re Bristol Myers Squibb Co. Sec. Litig. (S.D.N.Y.); and In re New Century Sec.
           Litig. (C.D. Cal.).

           Industry observers, peers and adversaries routinely honor Sal for his accomplishments. He is one
           of the “Top 100 Trial Lawyers” in the nation according to Benchmark Litigation, which credits
           him for performing “top quality work.” Chambers USA describes Sal as “wonderfully talented…a
           smart, aggressive lawyer who works hard for his clients,” while Legal 500 praises him as a
           “highly effective litigator.” Heralded multiple times as one of a handful of Securities Litigation
           and Class Action “MVPs” in the nation by Law360, he is also one of Lawdragon’s 500 Leading
           Lawyers in America, named as a leading mass tort and plaintiff class action litigator by Best
           Lawyers®, and as a New York Super Lawyer. Most recently, Sal was named a Plaintiffs’ Lawyer
           Trailblazer by The National Law Journal.

           A highly esteemed voice on investor rights, regulatory and market issues, in 2008 he was called
           upon by the Securities and Exchange Commission’s Advisory Committee on Improvements to
           Financial Reporting to give testimony as to the state of the industry and potential impacts of
           proposed regulatory changes being considered. He is the author and co-author of numerous
           articles on developments in the securities laws, and was chosen, along with several of his BLB&G
           partners, to author the first chapter – “Plaintiffs’ Perspective” – of Lexis/Nexis’s seminal industry
           guide Litigating Securities Class Actions.




                                                     24
                                                                                                           App-55
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 29 of 61 PageID 245


           A managing partner of the firm, Sal has previously served as the President of the National
           Association of Shareholder & Consumer Attorneys, and has served as a member of the Financial
           Reporting Committee and the Securities Regulation Committee of the Association of the Bar of
           the City of New York. He regularly lectures on securities fraud litigation and shareholder rights.
           Prior to entering private practice, Sal served as an Assistant District Attorney in the Manhattan
           District Attorney’s Office.

           EDUCATION: New York University College of Arts and Science, B.A., psychology, cum laude,
           1988. New York University School of Law, J.D., cum laude, 1991.

           BAR ADMISSIONS: New York; U.S. District Courts for the Southern and Eastern Districts of
           New York; U.S. Courts of Appeals for the First, Second, Third, Fourth, Ninth and Eleventh
           Circuits.


           J O H N C. B R O W N E ’s practice focuses on the prosecution of securities fraud class actions. He
           represents the firm’s institutional investor clients in jurisdictions throughout the country and has
           been a member of the trial teams of some of the most high-profile securities fraud class actions in
           history.

           John was Lead Counsel in the In re Citigroup, Inc. Bond Action Litigation, which resulted in a
           $730 million cash recovery – the second largest recovery ever achieved for a class of purchasers of
           debt securities. It is also the second largest civil settlement arising out of the subprime meltdown
           and financial crisis. John was also a member of the team representing the New York State
           Common Retirement Fund in In re WorldCom, Inc. Securities Litigation, which culminated in a
           five-week trial against Arthur Andersen LLP and a recovery for investors of over $6.19 billion –
           one of the largest securities fraud recoveries in history.

           Other notable litigations in which John served as Lead Counsel on behalf of shareholders include
           In re Refco Securities Litigation, which resulted in a $407 million settlement, In re the Reserve
           Fund Securities and Derivative Litigation, which settled for more than $54 million, In re King
           Pharmaceuticals Litigation, which settled for $38.25 million, In re RAIT Financial Trust
           Securities Litigation, which settled for $32 million, and In re SFBC Securities Litigation, which
           settled for $28.5 million.

           Most recently, John served as lead counsel in the In re BNY Mellon Foreign Exchange Securities
           Litigation, which settled for $180 million; In re State Street Corporation Securities Litigation,
           which settled for $60 million; and the Anadarko Petroleum Corporation Securities Litigation,
           which settled for $12.5 million. John also represents the firm’s institutional investor clients in the
           appellate courts, and has argued appeals in the Second Circuit, Third Circuit and, most recently,
           the Fifth Circuit, where he successfully argued the appeal in the In re Amedisys Securities
           Litigation.

           In recognition of his achievements and legal excellence, Law360 has twice named John a “Class
           Action MVP” (one of only four litigators selected nationally), and he was selected by legal
           publication Lawdragon to its exclusive list as one of the “500 Leading Lawyers in America.” He
           is ranked a New York Super Lawyer by Thomson Reuters, and is recommended by Legal 500 for
           his work in securities litigation.

           Prior to joining BLB&G, John was an attorney at Latham & Watkins, where he had a wide range
           of experience in commercial litigation, including defending corporate officers and directors in
           securities class actions and derivative suits, and representing major corporate clients in state and
           federal court litigations and arbitrations.

           John has been a panelist at various continuing legal education programs offered by the American
           Law Institute (“ALI”) and has authored and co-authored numerous articles relating to securities
           litigation.

                                                   25
                                                                                                        App-56
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 30 of 61 PageID 246



           EDUCATION: James Madison University, B.A., Economics, magna cum laude, 1994. Cornell
           Law School, J.D., cum laude, 1998; Editor of the Cornell Law Review.

           BAR ADMISSIONS: New York; U.S. District Court for the Southern District of New York; U.S.
           Courts of Appeals for the Second, Third and Fifth Circuits.


           M A R K L E B O V I T C H heads the firm’s corporate governance litigation practice, focusing on
           derivative suits and transactional litigation. Working with his institutional investor clients, he
           fights to hold management accountable, pursuing meaningful and novel challenges to alleged
           corporate governance-related misconduct and anti-shareholder practices. His cases have created
           key legal precedents while helping recoup billions of dollars for investors and improving corporate
           governance practices in numerous industries.

           Most recently, Mark led the Allergan Proxy Violation Litigation, alleging an unprecedented
           insider trading scheme by billionaire hedge fund manager Bill Ackman, Ackman’s Pershing
           Square Capital Management fund and Valeant Pharmaceuticals International, Inc. After a
           ferocious three-year legal battle over this attempt to circumvent the spirit of the U.S. securities
           laws, defendants accepted a $250 million settlement for Allergan investors. In 2017, before the
           birth of the #metoo movement, he led the prosecution of an unprecedented shareholder derivative
           litigation against Fox News parent 21st Century Fox, Inc. arising from the systemic sexual and
           workplace harassment at the embattled network. The case resulted in one of the largest financial
           recoveries – $90 million – ever obtained in a pure corporate board oversight dispute; and the
           creation of an independent council of experts - named the “Fox News Workplace Professionalism
           and Inclusion Council” — which is expected to serve as a model for public companies in all
           industries.

           Other select current and past representations include:
           •   In re DISH Corp. Shareholder Litigation: derivative suit challenging misappropriation and
               front-running by a controlling shareholder, costing investors over $800 million;
           •   Insys Derivative Litigation: challenging a board-approved illegal marketing scheme that
               actively encouraged off-label marketing of a deadly opioid fentanyl drug;
           •   In re TIBCO Software Stockholder Litigation: pursued novel and precedent-setting merger
               agreement reformation claims and received 33% of potential damages shortly before trial;
           •   In re Freeport-McMoRan Derivative Litigation: settled for a cash recovery of nearly $154
               million, plus corporate governance reforms;
           •   In re Jefferies, Inc. Stockholder Litigation: settled for a $75 million net payment paid entirely
               to a class of former Jefferies investor through a first-of-its-kind dividend;
           •   Safeway Appraisal Litigation: provided clients with a nearly 30% increase in value above the
               negotiated merger consideration;
           •   In re News Corp. Shareholder Derivative Litigation: settled for a $139 million cash recovery,
               and an unprecedented package of corporate governance and oversight enhancements;
           •   In re El Paso Corp. Shareholder Litigation: resulted in a $110 million post-closing settlement
               and a ruling that materially improved the way M&A financial advisors address conflicts of
               interest;
           •   In re Delphi Financial Group Shareholder Litigation: challenged the controlling
               shareholder’s unlawful demand for an additional $55 million in connection with the sale of
               the company, resulting in the recovery of $49 million;




                                                   26
                                                                                                       App-57
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 31 of 61 PageID 247


           •   In re Pfizer Derivative Litigation: resulted in a $75 million payment and creation of a new
               Healthcare Law Regulatory Committee, which sets an improved standard for regulatory
               compliance oversight by a public company board of directors; and
           •   In re ACS Shareholder Litigation: settled on the eve of trial for a $69 million cash payment to
               ACS shareholders.

           Mark pioneered challenges to the improper but widespread practice of using “Proxy Put”
           provisions in corporate debt agreements, obtaining pro-shareholder rulings in cases like In re
           Amylin Shareholders Litigation, In re SandRidge Energy, Inc. Shareholder Litigation, and In re
           Healthways, Inc. Shareholder Litigation, which have caused the industry to materially change its
           use of such provisions. He also prosecutes securities litigations, and in that capacity, was the lead
           litigation attorney in In re Merrill Lynch Bondholders Litigation, which settled for $150 million;
           and a member of the team prosecuting In re Bank of America Securities Litigation, which settled
           for $2.425 billion. Currently, he is the lead attorney prosecuting In re Allergan Proxy Securities
           Litigation.

           Mark has received national recognition for his work in securities and M&A litigation. The
           National Law Journal named Mark, as a “Plaintiffs’ Lawyers Trailblazer,” recognizing him
           among the top practitioners in the nation. He was selected 2016 national “Plaintiff Attorney of the
           Year” by Benchmark Litigation and is regularly honored as a New York “Litigation Star”
           by Benchmark in its exclusive annual list of top practitioners. Named a leading lawyer in M&A
           litigation by Best Lawyers®, Mark was selected as its 2016 M&A Litigation “Lawyer of the Year”
           for New York City. He is one of Lawdragon’s “500 Leading Lawyers in America,” a New York
           Super Lawyer, and is recognized by Chambers USA and Legal 500 as one of an elite group of
           notable practitioners in securities and M&A litigation. In 2013, Law360 named him as one of its
           five “Rising Stars” nationally in the area of securities litigation – the only plaintiff-side attorney so
           selected, and in 2018 honored him as a “Titan of the Plaintiffs Bar.” In 2012, The Deal magazine
           prominently profiled Mark as one of the top three lawyers nationally representing shareholder
           plaintiffs in M&A litigation in its feature article, “The Troika Atop the M&A Plaintiffs’ Bar.”

           Mark serves as an Adviser on the prestigious American Law Institute’s Restatement of the
           Law, Corporate Governance project. He is also a member of the Board of Advisors for both the
           Institute for Law and Economics and the NYU Institute for Corporate Governance and Finance,
           and is an author and a frequent speaker and commentator at industry events on a wide range of
           corporate governance and securities related issues. His publications include “Of Babies and
           Bathwater: Deterring Frivolous Stockholder Suits Without Closing the Courthouse Doors to
           Legitimate Claims“ (Delaware Journal of Corporate Law, Vol. 40, 2015), “Making Order Out of
           Chaos: A Proposal To Improve Organization and Coordination in Multi-Jurisdictional Merger-
           Related Litigation” (ABA Journal), “‘Novel Issues’ or a Return to Core Principles? Analyzing the
           Common Link Between the Delaware Chancery Court’s Recent Rulings in Option Backdating and
           Transactional Cases” (NYU Journal of Law & Business, Volume 4, Number 2), “Calling a Duck a
           Duck: Determining the Validity of Deal Protection Provisions in Merger of Equals Transactions”
           (2001 Columbia Business Law Review 1) and “Practical Refinement” (The Daily Deal, January
           2002), each of which discussed evolving developments in the law of directors’ fiduciary duties.

           Mark clerked for Vice Chancellor Stephen P. Lamb on the Court of Chancery of the State of
           Delaware, and was a litigation associate at Skadden, Arps, Slate, Meagher & Flom in New York,
           where he represented clients in a variety of corporate governance, commercial and federal
           securities matters.

           EDUCATION: Binghamton University – State University of New York, B.A., cum laude, 1996.
           New York University School of Law, J.D., cum laude, 1999.

           BAR ADMISSIONS: New York; U. S. District Courts for the Southern and Eastern Districts of
           New York.



                                                    27
                                                                                                          App-58
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 32 of 61 PageID 248




           H A N N A H R O S S is involved in a variety of the firm’s litigation practice areas, focusing in
           particular on securities fraud, shareholder rights and other complex commercial matters. She has
           two decades of experience as a civil and criminal litigator, and represents the firm’s institutional
           investor clients as counsel in a number of major pending actions.

           A key member and leader of trial teams that have recovered billions of dollars for investors,
           Hannah is widely recognized by industry observers for her professional achievements.
           Euromoney/Legal Media Group named her one of the top female litigators in the country (1 of 9
           finalists for its “Best in Litigation” category). Named a “Litigation Star” and one of the “Top 250
           Women in Litigation” in the nation by Benchmark, she has earned praise as one of a small elite of
           notable practitioners from Legal 500 US for her achievements, and is one of the “500 Leading
           Lawyers in America,” part of an exclusive list of the top practitioners in the nation as compiled by
           leading legal journal Lawdragon. Most recently, Hannah was recognized among a select group of
           top plaintiffs’ attorneys as a “Titan of the Plaintiffs Bar” by legal newswire Law360, and a
           “Plaintiffs’ Lawyer Trailblazer” by The National Law Journal.

           In addition to her direct litigation responsibilities, she is one of the senior partners at the firm
           responsible for client development and client relations. A significant part of her practice is
           dedicated to initial case evaluation and counseling the firm’s institutional investor clients on
           potential claims. Hannah is also one of the partners who oversees the firm’s Global Securities and
           Litigation Monitoring Team, which monitors global equities traded in non-U.S. jurisdictions on
           prospective and pending international securities matters. In that capacity, she advises the firm’s
           institutional investor clients on their options to recover losses incurred on securities purchased in
           non-U.S. markets.

           Hannah was a senior member of the team that prosecuted In re Bank of America Securities
           Litigation, which resulted in a landmark settlement shortly before trial of $2.425 billion, one of the
           largest securities recoveries ever obtained, and by far the largest recovery achieved in a litigation
           arising from the financial crisis. Most recently, she was the lead partner in the securities class
           action arising from the failure of major mid-Atlantic bank Wilmington Trust, which settled for
           $210 million. Hannah was also a senior member of the trial team that prosecuted the litigation
           arising from the collapse of former leading brokerage MF Global, which recovered $234.3 million
           on behalf of investors. In addition, she led the prosecution against Washington Mutual and certain
           of its former officers and directors for alleged fraudulent conduct in the thrift’s home lending
           operations, an action which settled for $216.75 million and represents one of the largest
           settlements achieved in a case related to the fallout of the subprime crisis and the largest recovery
           ever achieved in a securities class action in the Western District of Washington. Hannah was also
           a key member of the team prosecuting In re The Mills Corporation Securities Litigation, which
           settled for $202.75 million, the largest recovery ever achieved in a securities class action in
           Virginia and the second largest recovery ever in the Fourth Circuit.

           She has been a member of the trial teams in numerous other major securities litigations resulting
           in recoveries for investors in excess of $2 billion. These include securities class actions against
           Nortel Networks, New Century Financial Corporation, and the Federal Home Loan Mortgage
           Corporation (“Freddie Mac”), as well as In re Altisource Portfolio Solutions S.A. Securities
           Litigation, In re DFC Global Corp. Securities Litigation, In re Tronox Securities Litigation, In re
           Delphi Corporation Securities Litigation, In re Affiliated Computer Services, Inc. Derivative
           Litigation, In re OM Group, Inc. Securities Litigation, and In re BioScrip, Inc. Securities
           Litigation.

           Hannah serves on the Corporate Leadership Committee of the New York Women’s Foundation
           and has also served as an adjunct faculty member in the trial advocacy program at the Dickinson
           School of Law of the Pennsylvania State University.



                                                    28
                                                                                                          App-59
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 33 of 61 PageID 249


           Before joining BLB&G, Hannah was a prosecutor in the Massachusetts Attorney General’s Office
           as well as an Assistant District Attorney in the Middlesex County (Massachusetts) District
           Attorney’s Office.

           EDUCATION: Cornell University, B.A., cum laude, 1995. The Dickinson School of Law of the
           Pennsylvania State University, J.D., with distinction, 1998; Woolsack Honor Society; Comments
           Editor of the Dickinson Law Review; D. Arthur Magaziner Human Services Award.

           BAR ADMISSIONS: Massachusetts; New York; U.S. District Court for the Southern District of
           New York; U.S. Court of Appeals for the Second Circuit.


           D A V I D L. W A L E S One of the leaders of the firm’s Corporate Governance litigation practice,
           David prosecutes a variety of derivative, class, and private litigation arising from breaches of
           fiduciary duty and other misconduct by boards of directors and senior executives at public
           companies.

           He is an experienced trial attorney who has recovered billions of dollars on behalf of his
           institutional investor clients. A former Assistant United States Attorney for the Southern District
           of New York, David has tried numerous cases both as a prosecutor and in private practice.

           David’s current and recent cases include the following:
           •   In re McKesson Corporation Derivative Action – derivative action against the board of
               directors and senior executive officers, for breach of fiduciary duties, for failure to exercise
               oversight of McKesson’s compliance with the Controlled Substances Act and related
               regulations for distribution of opioids and reporting of suspicious orders. Preliminary
               approval granted for proposed settlement of $175 million plus corporate governance reforms;
           •   In re 21st Century Fox Derivative Action – derivative action against the Board of Directors
               and controlling stockholders, and a senior executive, for breach of fiduciary duty for a
               systemic culture of sexual harassment and discrimination; a landmark settlement with two key
               components: 1) the first-ever Board-level watchdog of its kind – the “Fox News Workplace
               Professionalism and Inclusion Council” of experts (WPIC) – majority independent; and 2)
               one of the largest financial recoveries – $90 million – ever obtained in a pure corporate board
               oversight dispute; the WPIC is expected to serve as a model for public companies in all
               industries;
           •   In re New Senior Investment Group, Inc. Derivative Litigation – derivative action alleging
               that a conflicted Board of Directors allowed a self-dealing and over-priced transaction with
               entities controlled by Fortress Investment Group; $53 million settlement, representing more
               than 10 percent of the market capitalization of the company;
           •   In re Alphabet Shareholder Derivative Action – derivative action against the Board of
               Directors and senior executives of Alphabet for violating antitrust laws, including for the
               recent European Commission fines of $9 billion; and
           •   In re Yahoo!, Inc. Derivative Litigation – action alleging that the Board and senior executives
               of Yahoo breached their duties by failing to disclose large hacks of Yahoo email users,
               resulting in the price of the sale of Internet business being reduced by $350 million, as well as
               numerous consumer lawsuits; $29 million settlement. Only derivative action based on a hack
               that achieved a monetary recovery; $29 million settlement. Only derivative action based on a
               hack that achieved a monetary recovery.

           As lead counsel in numerous major securities litigations, some of David’s significant recoveries
           include:
           •   In re Merck & Co., Inc. Securities Litigation – a recovery of $1.06 billion in a certified class
               action on behalf of investors in Merck Securities;


                                                   29
                                                                                                       App-60
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                            Page 34 of 61 PageID 250


           •   In re Citigroup Inc. Bond Litigation – a class action on behalf of investors in numerous
               securities offerings which resulted in $730 million recovery;
           •   Public Employees’ Retirement System of Mississippi v. Merrill Lynch & Co. Inc. – $315
               million settlement in a class action on behalf of investors in residential mortgage-backed
               securities;
           •   In re Pfizer Inc. Shareholder Derivative Action – $75 million settlement and substantial
               corporate governance changes in a derivative action that set new benchmark for highly
               regulated businesses;
           •   In re Jefferies Group, Inc. Shareholders Litigation – $70 million settlement on behalf of
               shareholders in the sale of the company;
           •   In re Sepracor Corp. Securities Litigation – $52.5 million recovery in a certified class
               action; and
           •   In re Cablevision Systems Corp. Derivative Litigation – $34.4 million recovery in a back-
               dated stock option action.

           David is rated AV, the highest rating possible from Martindale-Hubbell®. He has also been
           regularly recognized by Legal 500 as a top practitioner, and by Thomson Reuters as a New York
           Super Lawyer for his work in securities litigation. In addition, David is a frequent speaker on
           corporate governance and securities fraud matters.

           EDUCATION: State University of New York at Albany, B.A., magna cum laude, 1984.
           Georgetown University Law Center, J.D., cum laude, 1987; Notes and Comments Editor for the
           Journal of Law and Technology.

           BAR ADMISSIONS: New York; District of Columbia; U.S. Courts of Appeals for the Second,
           Third and Fourth Circuits; U.S. District Courts for the Eastern, Southern and Western Districts of
           New York; U.S. District Court for the Eastern District of Michigan; U.S. District Court for the
           District of Columbia; U.S. District Court for the Northern District of Illinois and Trial Bar.


           A V I J O S E F S O N prosecutes securities fraud litigation for the firm’s institutional investor clients,
           and has participated in many of the firm’s significant representations, including In re SCOR
           Holding (Switzerland) AG Securities Litigation, which resulted in a recovery worth in excess of
           $143 million for investors. He was also a member of the team that litigated the In re OM Group,
           Inc. Securities Litigation, which resulted in a settlement of $92.4 million.

           As a member of the firm’s new matter department, Avi counsels institutional clients on potential
           legal claims. He has presented argument in several federal and state courts, including an appeal he
           argued before the Delaware Supreme Court.

           Avi is also actively involved in the M&A litigation practice, and represented shareholders in the
           litigation arising from the proposed acquisitions of Ceridian Corporation and Anheuser-Busch. A
           member of the firm’s subprime litigation team, he has participated in securities fraud actions
           arising from the collapse of subprime mortgage lender American Home Mortgage and the actions
           against Lehman Brothers, Citigroup and Merrill Lynch, arising from those banks’ multi-billion
           dollar loss from mortgage-backed investments. Avi has prosecuted actions against Deutsche Bank
           and Morgan Stanley arising from their sale of mortgage-backed securities, and is advising U.S.
           and foreign institutions concerning similar claims arising from investments in mortgage-backed
           securities.

           Avi practices in the firm’s Chicago and New York offices.




                                                     30
                                                                                                             App-61
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                            Page 35 of 61 PageID 251




           EDUCATION: Brandeis University, B.A., cum laude, 1997. Northwestern University, J.D., 2000;
           Dean’s List; Justice Stevens Public Interest Fellowship (1999); Public Interest Law Initiative
           Fellowship (2000).

           BAR ADMISSIONS: Illinois, New York; U.S. District Courts for the Southern District of New
           York and the Northern District of Illinois.


           J O H N R I Z I O -H A M I L T O N is involved in a variety of the firm’s litigation practice areas,
           focusing specifically on securities fraud, corporate governance, and shareholder rights. He
           currently represents the firm’s institutional investor clients as counsel in a number of major
           pending actions.

           John was a member of the trial team prosecuting In re Bank of America Securities Litigation,
           which settled for $2.425 billion, the single largest securities class action recovery ever resolving
           violations of Sections 14(a) and 10(b) of the Securities Exchange Act, and one of the top securities
           litigation recoveries in history. He also served as counsel on behalf of the institutional investor
           plaintiffs in In re Citigroup, Inc. Bond Action Litigation, which settled for $730 million, the
           second largest recovery ever in a securities class action brought on behalf of purchasers of debt
           securities. In addition, John was a member of the team that prosecuted the In re Wachovia Corp.
           Bond/Notes Litigation, in which the firm recovered a total of $627 million on behalf of investors,
           one of the 15 largest securities class action recoveries in history. Most recently, he served as a key
           member of the team that recovered $150 million for investors in In re JPMorgan Chase & Co.
           Securities Litigation, a securities fraud class action arising out of misrepresentations and
           omissions concerning JPMorgan’s Chief Investment Office, the company’s risk management
           systems, and the trading activities of the so-called “London Whale.”

           John has also been a member of the trial teams in several additional securities litigations through
           which the firm has successfully recovered hundreds of millions of dollars on behalf of injured
           investors. Among other matters, he was part of the trial teams that prosecuted Eastwood
           Enterprises LLC v. WellCare, In re MBIA, Inc. Securities Litigation, and In re RAIT Financial
           Trust Securities Litigation.

           In addition to his direct litigation responsibilities, John is also responsible for the firm’s client
           outreach in Canada, where he advises institutional investor clients on potential securities fraud and
           investor claims. He is one of the partners who oversees the firm’s Global Securities and Litigation
           Monitoring Team, which monitors global equities traded in non-U.S. jurisdictions on prospective
           and pending international securities matters, and provides critical analysis of options to recover
           losses incurred on securities purchased in non-U.S. markets.

           For his remarkable accomplishments, John was recognized by Law360 as one of the country’s
           “Top Attorneys Under 40,” and a national “Rising Star” in the area of class action litigation.

           Before joining BLB&G, John clerked for the Honorable Chester J. Straub of the United States
           Court of Appeals for the Second Circuit, and the Honorable Sidney H. Stein of the United States
           District Court for the Southern District of New York.

           EDUCATION: The Johns Hopkins University, B.A., with honors, 1997. Brooklyn Law School,
           J.D., summa cum laude; Editor-in-Chief of the Brooklyn Law Review; first-place winner of the J.
           Braxton Craven Memorial Constitutional Law Moot Court Competition.

           BAR ADMISSIONS: New York; U.S. District for the Southern District of New York.




                                                     31
                                                                                                             App-62
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 36 of 61 PageID 252




           J A M E S A . H A R R O D has two decades of experience prosecuting complex litigation in federal
           courts. His practice focuses on representing the firm’s institutional investor clients in securities
           fraud-related matters. He also leads the firm’s Global Securities and Litigation Monitoring Team,
           which monitors securities class and group actions around the world, and advises BLB&G’s
           institutional clients on potential avenues for recovery in those actions.

           Over the course of his career, he has obtained over a billion dollars on behalf of investor classes.
           His high-profile cases include In re Motorola Securities Litigation, in which he was a key member
           of the team that represented the State of New Jersey’s Division of Investment and obtained a $190
           million recovery three days before trial. Recently, Jim represented the class of investors in the
           securities litigation against General Motors arising from GM’s recall of vehicles with defective
           ignition switches, and recovered $300 million for investors – the second largest securities class
           action recovery in the Sixth Circuit.

           Jim represented institutional investors in several cases concerning the issuance of residential
           mortgage-backed securities prior to the financial crisis. He worked on the team that recovered
           $500 million for investors in In re Bear Stearns Mortgage Pass-Through Certificates Litigation,
           which brought claims related to the issuance of mortgage pass-through certificates during 2006
           and 2007. In a similar action, Plumbers’ & Pipefitters’ Local #562 Supplemental Plan & Trust v.
           J.P. Morgan Acceptance Corp. I, he recovered $280 million on behalf of a class of investors.
           Other mortgage-backed securities cases that Jim worked on include In re Lehman Bros. Mortgage-
           Backed Securities Litigation ($40 million recovery) and Tsereteli v. Residential Asset
           Securitization Trust 2006-A8 ($10.9 million recovery).

           Most recently, Jim has been active in prosecuting claims against foreign issuers and actions
           brought under foreign law, including the Israeli securities law claims currently being prosecuted in
           the Perrigo securities litigation. He currently serves as lead counsel in a class action led by Union
           Asset Management AG—a large German asset manager—in litigation against Equifax related to
           its 2017 data breach. He also served as lead counsel in litigation on behalf of investors in
           Volkswagen AG American Depository Receipts (ADRs), relating to the automaker’s alleged
           misrepresentations concerning its “clean diesel” cars, which claims involved significant
           international discovery, foreign jurisdictional issues and overlapping litigation in Europe.

           Among his other notable recoveries are The Department of the Treasury of the State of New Jersey
           and its Division of Investment v. Cliffs Natural Resources Inc. (class recovery of $84 million);
           Anwar, et al., v. Fairfield Greenwich Limited (settlement valued at $80 million); In re Service
           Corporation International ($65 million recovery); Danis v. USN Communications, Inc. ($44.6
           million recovery); In re Tower Group International, Ltd. Securities Litigation ($20.5 million
           recovery); In re Navistar International Securities Litigation ($13 million recovery); and In re
           Sonus Networks, Inc. Securities Litigation-II ($9.5 million recovery).

           In connection with his representation of institutional investors, he is a frequent speaker to public
           pension fund organizations and trustees concerning fiduciary duties, emerging issues in securities
           litigation and the financial markets.

           Jim is recognized as a “Litigation Star” by Benchmark Litigation, and as a New York Super
           Lawyer for his professional achievements.

           EDUCATION: Skidmore College, B.A.; George Washington University Law School, J.D.

           BAR ADMISSIONS: New York; U.S. Courts of Appeals for the Second, Third, Sixth and
           Seventh Circuits; U.S. District Courts for the Eastern and Southern Districts of New York.




                                                   32
                                                                                                       App-63
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 37 of 61 PageID 253


           J E R O E N V A N K W A W E G E N is one of America’s top shareholder litigators and serves as the co-
           head of the firm’s Department of Governance, focusing on the fiduciary duties of boards of
           directors and senior executives, including in the context of mergers and acquisitions, shareholder
           voting rights and shareholder activism, and board oversight. He is also the head of the firm’s
           European client development efforts and devotes a significant part of his practice to initial case
           evaluation and counseling the firm’s European institutional investor clients in all shareholder
           litigation matters, including securities class actions and fiduciary duty matters. Jeroen is one of the
           partners who oversees the firm’s Global Securities and Litigation Monitoring Team, which
           monitors securities class and group actions around the world, and advises institutional clients on
           potential avenues for recovering damages in those actions.

           Jeroen has been widely recognized within the legal industry for his accomplishments. Most
           recently, Lawdragon named Jeroen one of the “500 Leading Lawyers” in America in 2019 – the
           only shareholder litigator from Europe to receive that professional recognition. Jeroen has also
           been lauded by The National Law Journal as a “Plaintiffs’ Lawyers Trailblazer,” including him
           among the top 26 practitioners in the nation “who continue to make their mark in various aspects
           of legal work on the Plaintiffs’ side.” He has also been recognized as a leading practitioner in his
           field by Legal 500 and Super Lawyers, and was named a New York “Rising Star” by Thomson
           Reuters.

           Jeroen has served as lead counsel in securities class actions and in class and derivative actions
           involving breaches of fiduciary duty by boards of directors and senior executives in courts across
           the United States. Over the course of his career, Jeroen has recovered hundreds of millions of
           dollars for investors, improving corporate governance practices at numerous companies, and
           vindicating fundamental shareholder voting and franchise rights, including Public Employees’ Ret.
           Sys. of Mississippi v. Merrill Lynch & Co. (U.S. District Court for the Southern District of New
           York), In re Pfizer Inc. Shareholder Derivative Litigation (U.S. District Court for the Southern
           District of New York), In re Starz Stockholder Litigation (Delaware Chancery Court), and
           Teamsters Local 443 Health Servs. & Ins. Plan v. Darden Restaurants, Inc. (Florida Circuit
           Court).

           Among other cases, Jeroen is currently prosecuting In re Scana Corp. Securities Litigation (U.S.
           District Court of South Carolina), In re Symantec Corp. Securities Litigation (U.S. District Court
           for the Northern District of California), In re Qualcomm Inc. Securities Litigation (U.S. District
           Court for the Southern District of California), In re NVIDIA Corp. Securities Litigation (U.S.
           District Court for the Northern District of California), In re DXC Technology Co. Securities
           Litigation (U.S. District Court for the Eastern District of Virginia), and In re Synchrony Financial
           Corp. Securities Litigation (U.S. District Court of Connecticut). In addition, Jeroen is prosecuting
           In re Straight Path Communications Shareholder Litig. (Delaware Chancery Court), In re BGC
           Partners, Inc. Derivative Litigation (Delaware Chancery Court), In re Appraisal of Columbia
           Pipeline Group, Inc. (Delaware Chancery Court), and In re Sinclair Broadcast Corp. Derivative
           Litigation (U.S. District Court of Maryland).

           Jeroen is a frequent speaker at industry events on a wide range of corporate governance and
           securities related issues, and co-authored “Of Babies and Bathwater: Deterring Frivolous
           Stockholder Suits Without Closing the Courthouse Doors to Legitimate Claims” that was
           published in the Delaware Journal of Corporate Law (DJCL), Vol. 40, 2015.

           Before joining BLB&G, Jeroen was a litigator at Latham & Watkins (New York) and Schut &
           Grosheide (Amsterdam).

           EDUCATION: University of Amsterdam School of Law, LLM, 1998. Columbia University Law
           School, J.D., 2003; Harlan Fiske Stone Scholar.

           BAR ADMISSIONS: New York; U.S. Courts of Appeals for the Second and Third Circuits; U.S.
           District Courts for the Eastern and Southern Districts of New York; U.S. District Court for the
           District of Colorado.

                                                   33
                                                                                                        App-64
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                           Page 38 of 61 PageID 254




           K A T H E R I N E M. S I N D E R S O N is involved in a variety of the firm’s practice areas, including
           securities fraud, corporate governance, and advisory services. She is currently leading the teams
           prosecuting securities class actions against FleetCor Technologies, Frontier Communications, and
           Novo Nordisk, as well as litigation arising from the failure of SunEdison, Inc.

           Katherine played a key role in two of the firm’s largest cases in its history, both of which settled
           near trial for billions of dollars on behalf of investors. In In re Merck Securities Litigation, she
           was a member of the small trial team that achieved a $1.062 billion settlement. This settlement is
           the second largest recovery ever obtained in the Third Circuit, one of the top 10 recoveries of all
           time, and the largest recovery ever achieved against a pharmaceutical company. She was also a
           member of the trial team prosecuting In re Bank of America Securities Litigation, which resulted
           in a recovery of $2.425 billion, the single largest securities class action recovery ever resolving
           violations of Sections 14(a) and 10(b) of the Securities Exchange Act and one of the largest
           shareholder recoveries in history. Most recently, Katherine was a senior member of the team that
           led the securities litigation concerning Wilmington Trust, which resulted in a $210 million
           recovery for the class.

           Katherine has also been part of the trial teams in numerous other securities litigations that have
           successfully recovered hundreds of millions of dollars on behalf of injured investors. She served
           as a senior member of the teams that recovered $210 million in In re Salix Pharmaceuticals, Ltd.
           Securities Litigation, and $74 million in the take-private merger litigation San Antonio Fire and
           Police Pension Fund et al v. Dole Food Co. et al. She was also a member of the trial team that
           prosecuted the action against Washington Mutual, Inc. and certain of its former officers and
           directors for alleged fraudulent conduct in the thrift’s home lending operations. The action
           resulted in a recovery of $216.75 million, the largest recovery ever achieved in a securities class
           action in the Western District of Washington. Some of her other prominent prosecutions include
           the In re Bristol-Myers Squibb Co. Securities Litigation, which resulted in a recovery of $125
           million; and In re Biovail Corporation Securities Litigation, which resulted in a recovery of $138
           million for defrauded investors and represents the second largest recovery in any securities case
           involving a Canadian issuer.

           In 2016, Katherine was recognized as a national “Rising Star” by Law360 for her work in
           securities litigation and, in 2016, 2017, 2018, and 2019 was named to Benchmark
           Litigation’s “Under 40 Hot List,” which recognizes her as one the nation’s most accomplished
           legal partners under the age of 40. She is also regularly selected as a New York “Rising Star”
           by Super Lawyers.

           EDUCATION: Baylor University, B.A., cum laude, 2002. Georgetown University, J.D., cum
           laude, 2006; Dean’s Scholar; Articles Editor for The Georgetown Journal of Gender and the Law.

           BAR ADMISSIONS: New York; U.S. District Court for the Southern District of New York; U.S.
           Court of Appeals for the Second Circuit.


           J O N A T H A N D. U S L A N E R prosecutes class and direct actions on behalf of the firm’s
           institutional investor clients.

           Jonathan has litigated many of the firm’s most high-profile litigations. These include, among
           others, In re Bank of America Securities Litigation, which resulted in a historic settlement shortly
           before trial of $2.43 billion, one of the largest shareholder recoveries ever obtained; In re
           Genworth Financial, Inc. Securities Litigation, which settled for $219 million, the largest recovery
           ever obtained in a securities class action in Virginia; In re JPMorgan Chase & Co. Securities
           Litigation, which settled for $150 million; In re Wells Fargo Mortgage-Backed Certificates
           Litigation, which settled for $125 million; and In re Rayonier Securities Litigation, which settled
           for $73 million.


                                                    34
                                                                                                          App-65
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 39 of 61 PageID 255



           Jonathan is also actively involved in the firm’s direct action opt-out practice. He recently
           represented clients in opt-out actions brought against American Realty Capital Properties, which
           resulted in settlements totaling $85 million.

           Jonathan has been a member of the Board of Governors of the Association of Business Trial
           Lawyers (ABTL). He is also a member of the Federal Bar Association (FBA) and the San Diego
           County Bar Association (SDCBA).

           Jonathan is also an editor of the American Bar Association’s Class Actions and Derivative Suits
           Committee’s Newsletter. He has authored multiple articles relating to class actions and the federal
           securities laws, including “Much More Than ‘Housekeeping’: Rule 23(c)(4) in Action,” “Keeping
           Plaintiffs in the Driver’s Seat: The Supreme Court Rejects ‘Pick-off’ Settlement Offers,” and
           “Combating Objectionable Objections.” Most recently, Jonathan authored an article for Pensions
           & Investments titled “When Watchdogs Go Astray” and co-authored a piece for SACRS Magazine
           titled “When One Share Does Not Mean One Vote: The Fight Against Dual-Class Capital
           Structures.”

           For his achievements, Jonathan has been recognized by Benchmark Litigation as a “Litigation
           Star” and selected to its “Under 40 Hot List” of the “most notable up-and-coming litigators” in the
           U.S. He was also selected by Law360 as a national “Rising Star” and has been named by
           the Daily Journal as one of the “Top 40 Under 40” legal professionals in California.

           Jonathan is also a board member of Home of Guiding Hands, a non-profit organization that serves
           individuals with developmental disabilities and their families in the San Diego community. For
           his work and contributions to the organization, he was named “Volunteer of the Year.”

           Prior to joining BLB&G, Jonathan was a senior litigation associate at the law firm of Skadden,
           Arps, Slate, Meagher & Flom LLP, where he successfully prosecuted and defended claims from
           the discovery stage through trial. He also gained significant trial experience as a volunteer
           prosecutor for the City of Inglewood, California, as well as a judicial extern for Justice Steven
           Wayne Smith of the Supreme Court of Texas.

           EDUCATION: Duke University, B.A., magna cum laude, 2001, William J. Griffith Award for
           Leadership; Chairperson, Duke University Undergraduate Publications Board. The University of
           Texas School of Law, J.D., 2005; University of Texas Presidential Academic Merit Fellowship;
           Articles Editor, Texas Journal of Business Law.

           BAR ADMISSIONS: California; New York; U.S. District Courts for the Central and Northern
           Districts of California; U.S. District Court for the Southern District of New York.


           J E R E M Y P. R O B I N S O N has extensive experience in securities and civil litigation. Since
           joining BLB&G, Jeremy has been involved in prosecuting many high-profile securities cases. For
           example, he was an integral member of the teams that prosecuted In re Refco Securities Litigation
           (total recoveries in excess of $425 million); In re WellCare Health Plans, Inc. Securities
           Litigation ($200 million settlement, representing the second largest settlement of a securities case
           in Eleventh Circuit history); and In re Citigroup, Inc. Bond Action Litigation, which settled for
           $730 million, representing the second largest recovery ever in a securities class action brought on
           behalf of purchasers of debt securities and ranking among the fifteen largest recoveries in the
           history of securities class actions. He also recently represented investors in In re Bank of New
           York Mellon Corp. Forex Transactions Litigation, which settled for $180 million, and in In re
           Freeport-McMoRan Derivative Litigation, which settled for a cash recovery of nearly $154
           million plus corporate governance reforms. He is presently a member of the teams prosecuting In
           re Allergan, Inc. Proxy Violation Securities Litigation and Fernandez et al. v. UBS AG et al.



                                                    35
                                                                                                         App-66
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                           Page 40 of 61 PageID 256


           In 2000-01, Jeremy received the Harold G. Fox Scholarship and spent a year working with
           barristers and judges in London, England. In 2005, Jeremy obtained his Master of Laws degree
           from Columbia Law School, where he was honored as a Harlan Fiske Stone Scholar. Jeremy has
           also repeatedly been recognized as a New York Super Lawyer.

           EDUCATION: Queen’s University, Faculty of Law in Kingston, Ontario, Canada, LL.B., 1998;
           Best Brief in the Niagara International Moot Court Competition; David Sabbath Prizes in Contract
           Law and in Wills & Trusts Law. Columbia Law School, LL.M., 2005; Harlan Fiske Stone
           Scholar.

           BAR ADMISSIONS: Ontario, Canada; New York; U.S. District Court for the Eastern District of
           Michigan; U.S. District Court for the Southern District of New York.


           A D A M H. W I E R Z B O W S K I has represented investors and other plaintiffs in numerous complex
           litigations that include securities class actions and derivative suits.

           Adam was a senior member of the team that recovered over $1.06 billion on behalf of investors in
           In re Merck Vioxx Securities Litigation, which arose out of the Defendants’ alleged
           misrepresentations about the cardiovascular safety of Merck’s painkiller Vioxx. The case was
           settled just months before trial and after more than 10 years of litigation, during which time
           plaintiffs achieved a unanimous and groundbreaking victory for investors at the U.S. Supreme
           Court. The settlement is the second largest recovery ever obtained in the Third Circuit, among the
           15 largest recoveries of all time, and the largest securities recovery ever achieved against a
           pharmaceutical company.

           Adam was also a senior member of the team that achieved a total settlement of $688 million on
           behalf of investors in In re Schering-Plough Corp./ENHANCE Securities Litigation and In re
           Merck & Co., Inc. Vytorin/Zetia Securities Litigation, which related to Schering and Merck’s
           alleged misrepresentations about the multi-billion dollar blockbuster drugs Vytorin and Zetia. The
           combined $688 million in settlements is the third largest securities class action settlement in the
           Third Circuit and among the top 25 securities class action settlements of all time. The cases
           settled after nearly five years of litigation and less than a month before trial.

           Most recently, Adam was a senior member of the team that obtained $480 million for investors in
           the securities class action against Wells Fargo & Co. related to its fake accounts scandal. The
           settlement, if approved by the Court, would be the fourth largest settlement in the Ninth Circuit.

           In the UnitedHealth Derivative Litigation, which involved executives’ illegal backdating of
           UnitedHealth stock options, Adam helped recover in excess of $920 million from the individual
           Defendants. He also represented investors in the securities litigation against General Motors and
           certain of its senior executives stemming from that company’s delayed recall of vehicles with
           defective ignition switches, where the parties recovered $300 million for investors, in the second
           largest securities class action recovery in the Sixth Circuit.

           Adam also helped obtain significant recoveries on behalf of investors in Minneapolis Firefighters’
           Relief Association v. Medtronic, Inc. et al. ($85 million recovery); Bach v. Amedisys, et al. ($43.75
           million recovery); In re Facebook, Inc., IPO Securities and Derivative Litigation ($35 million
           recovery pending Court approval); In re Altisource Portfolio Solutions, S.A. Securities Litigation
           ($32 million recovery) and the Monster Worldwide Derivative Litigation (recovery valued at $32
           million). He is currently a member of the teams prosecuting, Town of Davie Police Pension Plan
           v. Pier 1 Imports, Inc. Securities Litigation and In re Stericycle, Inc. Securities Litigation.

           In 2016, Adam was named to Benchmark Litigation’s “Under 40 Hot List,” in recognition of his
           achievements as one of the nation’s most accomplished legal partners under the age of 40. He is
           also regularly named as one of Super Lawyers’ New York “Rising Stars.” No more than 2.5% of
           the lawyers in New York are selected to receive this honor each year.

                                                     36
                                                                                                      App-67
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                           Page 41 of 61 PageID 257




           EDUCATION: Dartmouth College, B.A., magna cum laude, 2000. The George Washington
           University Law School, J.D., with honors, 2003; Notes Editor for The George Washington
           International Law Review; Member of the Moot Court Board.

           BAR ADMISSIONS: New York; U.S. Supreme Court; U.S. District Courts for the Eastern and
           Southern Districts of New York; U.S. District Court for the Eastern District of Michigan; U.S.
           Courts of Appeals for the Third, Fifth, Sixth, and Ninth Circuits.


           M I C H A E L D. B L A T C H L E Y ’s practice focuses on securities fraud litigation. He is currently a
           member of the firm’s new matter department in which he, along with a team of attorneys, financial
           analysts, forensic accountants, and investigators, counsels the firm’s clients on their legal claims.

           Michael has also served as a member of the litigation teams responsible for prosecuting a number
           of the firm’s significant cases. For example, Michael was a key member of the team that
           recovered $150 million for investors in In re JPMorgan Chase & Co. Securities Litigation, a
           securities fraud class action arising out of misrepresentations and omissions concerning
           JPMorgan’s Chief Investment Office, the company’s risk management systems, and the trading
           activities of the so-called “London Whale.” He was also a member of the litigation team in In
           re Medtronic, Inc. Securities Litigation, an action arising out of allegations that Medtronic
           promoted the Infuse bone graft for dangerous “off-label” uses, which resulted in an $85 million
           recovery for investors. In addition, Michael prosecuted a number of cases related to the financial
           crisis, including several actions arising out of wrongdoing related to the issuance of residential
           mortgage-backed securities and other complex financial products.

           Most recently, he was a member of the team that achieved a $250 million recovery for investors in
           In re Allergan, Inc. Proxy Violation Securities Litigation, a precedent-setting case alleging
           unlawful insider trading by hedge fund billionaire Bill Ackman.

           Michael was recently named to Benchmark Litigation’s ”40 & Under Hot List,” which recognizes
           him as one the nation’s most accomplished partners age 40 years and under.

           While attending Brooklyn Law School, Michael held a judicial internship position for the
           Honorable David G. Trager, United States District Judge for the Eastern District of New York. In
           addition, he worked as an intern at The Legal Aid Society’s Harlem Community Law Office, as
           well as at Brooklyn Law School’s Second Look and Workers’ Rights Clinics, and provided legal
           assistance to victims of Hurricane Katrina in New Orleans, Louisiana.

           EDUCATION: University of Wisconsin, B.A., 2000. Brooklyn Law School, J.D., cum laude,
           2007; Edward V. Sparer Public Interest Law Fellowship, William Payson Richardson Memorial
           Prize, Richard Elliott Blyn Memorial Prize, Editor for the Brooklyn Law Review, Moot Court
           Honor Society.

           BAR ADMISSIONS: New York, New Jersey; U.S. District Courts for the Southern District of
           New York and the District of New Jersey; U.S. Court of Appeals for the Ninth Circuit.


           L A U R E N M C M I L L E N O R M S B E E practices out of BLB&G’s New York office, focusing on
           complex commercial and securities litigation.

           Representing institutional and private investors in a variety of class and direct actions involving
           securities fraud and other fiduciary violations, she has successfully prosecuted multiple major
           litigations obtaining hundreds of millions of dollars in recoveries on behalf of the firm’s clients.



                                                     37
                                                                                                           App-68
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 42 of 61 PageID 258


           Lauren has been an integral part of trial teams in numerous major actions, including: In re
           HealthSouth Bondholder Litigation, which obtained $230 million for the HealthSouth bondholder
           Class; In re Wilmington Trust Securities Litigation, in which a $210 million recovery was obtained
           for Wilmington Trust investors; In re New Century Securities Litigation, which resulted in $125
           million for its investors after the mortgage originator became one of the first casualties of the
           subprime crisis; In re State Street Corporation Securities Litigation, which obtained $60 million in
           the wake of a series of alleged misrepresentations about the company’s own internal portfolio;
           Levy v. GT Advanced Technologies Inc., which resulted in a $36.7 million recovery for GTAT
           investors; In re Ambac Financial Group Securities Litigation, which obtained $33 million from
           the now-bankrupt insurer; In re Altisource Portfolio Solutions, S.A. Securities Litigation, which
           obtained $32 million from the mortgage loan servicer; In re Goldman Sachs Mortgage Pass-
           Through Litigation, which obtained $26.6 million for the benefit of the class of RMBS purchasers;
           and Barron v. Union Bancaire Privée, which recovered $8.9 million on behalf of the class of
           investors harmed by investments with Bernard Madoff, among others.

           A graduate of the University of Pennsylvania Law School, where she was an editor of the Law
           Review, following law school Lauren served as a law clerk for the Honorable Colleen McMahon
           of the Southern District of New York. Prior to joining the firm in 2007, she was a litigation
           associate at Paul, Weiss, Rifkind, Wharton & Garrison LLP, where she had extensive experience
           in securities litigation and complex commercial litigation.

           EDUCATION: Duke University, B.A., History, 1996. University of Pennsylvania Law School,
           J.D., cum laude, 2000; Research Editor for the University of Pennsylvania Law Review.

           BAR ADMISSIONS: New York; U. S. District Courts for the Eastern and Southern Districts of
           New York; U.S. Courts of Appeals for the Second and Third Circuits.


           G R E G O R Y V. V A R A L L O heads BLB&G’s Delaware office. Greg focuses his practice on
           protecting investor rights, trying cases in Delaware and around the US. Greg’s cases, while
           primarily derivative and class actions, also include plaintiffs’ side business-to-business disputes,
           fiduciary litigation in Bankruptcy Court, and, where appropriate, ADR.

           Prior to joining the firm, Greg spent a distinguished 36-year career with elite corporate defense
           firm Richards, Layton & Finger, capped by a three-year term as its President, where he
           represented top U.S. and global corporations on various Delaware business matters. He has
           litigated hundreds of complex business disputes in state and federal courts throughout the United
           States, including Delaware, and has earned a reputation as one of the country’s leading corporate
           governance experts and trial lawyers.

           Greg brings a unique and varied background to his practice. As an active director of both for-
           profit and not-for-profit companies, and the past CEO of a large defense firm who has also
           prosecuted cases from the plaintiffs’ side, his experience crosses traditional boundaries. That
           unusually wide perspective helps shape BLB&G’s creative approach to problem solving for its
           clients.

           Greg is widely recognized by the industry for his many accomplishments. Hailed as one of the
           nation’s leading business litigators by Chambers USA, Legal 500 USA, Benchmark Litigation,
           Best Lawyers, Thomson Reuters’ Super Lawyers and Lawdragon, he was named a “Top Lawyer”
           by Delaware Today.

           Significant representative matters in which Greg has served as lead counsel or co-lead counsel
           include:
           •   Lead counsel for 21st Century Fox and its directors in settlement of derivative litigation
               arising from sexual abuse scandal;



                                                   38
                                                                                                        App-69
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 43 of 61 PageID 259


           •   Lead counsel for News Corp. and its board in settlement of derivative litigation arising from
               hacking scandal;
           •   Lead trial and appellate counsel for Goldman Sachs Group in connection with challenge to
               worldwide compensation in In Re Goldman Sachs Group, Inc. Litig., Del, Ch., C.A. No.
               5215-VCG (Oct. 12, 2011), aff’d., No. 608, 2011 (Del. May 3, 2012);
           •   Lead counsel in first confidential Chancery arbitrations;
           •   Lead counsel for the tobacco industry in Delaware in connection with the entry of the
               landmark consent decree between that industry and the state attorneys general; and
           •   Lead counsel in PL Capital, LLC v. Central Bancorp, Inc., No. 03-0554 BLS, Van Gestel, J.
               (Mass. Super. June 30, 2003), in which the client succeeded in enjoining and then defeating
               the first attempted use of the “poison pill” or stockholder rights plan against a stockholder.

           A frequent speaker and author on a wide range of corporate governance and securities related
           issues, Greg was involved in the drafting and passage of the 2018 Delaware Certification of
           Adoption of Transparency and Sustainability Standards Act and the 2015 Delaware Rapid
           Arbitration Act. He has been published in The Business Lawyer, The Securities Regulation Law
           Journal, M&A Lawyer, Corporate Governance Advisor, Insights, and Business Law Today. He is
           co-author of several publications, including The Practitioner’s Guide to the Delaware Rapid
           Arbitration Act, Special Committees: Law and Practice, and Fundamentals of Corporate
           Governance.

           Greg is an active member in various respected legal organizations. He currently serves on the
           Delaware Supreme Court Rules Committee and is the Founding Trustee, Vice President and
           Secretary of the American College of Governance Counsel. He is also a fellow of the American
           College of Trial Lawyers, the Litigation Counsel of America and the Salzburg Global Seminar,
           Corporate Governance. Greg also served as a past Chair and Co-Chair on several committees and
           forums with the American Bar Association.

           Among his charitable and volunteer works, Greg currently serves as President of the Board of
           Directors for the Ministry of Caring, Inc., and is a Trustee for The American University of Rome.

           EDUCATION: University of Pennsylvania, B.A., 1980. Temple University School of Law, J.D.,
           1983; President, Moot Court.

           BAR ADMISSIONS: Delaware; U.S. Courts of Appeals for the Second, Third, and Fifth Circuits;
           Certified Superior Court Mediator.


           R E B E C C A E. B O O N has been litigating securities fraud and shareholder rights actions for over
           10 years, recovering more than a billion dollars for the firm’s institutional investor clients.

           Among numerous other of her notable recoveries, Rebecca was a senior member of the team that
           obtained $480 million for investors in the securities class action against Wells Fargo & Co. related
           to its fake accounts scandal, one of the largest settlements in Ninth Circuit history. Rebecca also
           represented the New York State Teachers’ Retirement System in a securities litigation against the
           General Motors Company arising from a series of misrepresentations concerning the quality,
           safety, and reliability of the Company’s cars, which resulted in a $300 million settlement — the
           second largest securities class action recovery in the Sixth Circuit.

           Recently, Rebecca was a senior member of the trial team that prosecuted an unprecedented
           shareholder derivative litigation against Fox News parent 21st Century Fox, Inc. arising from the
           systemic sexual and workplace harassment at the embattled network. After nearly 18 months of
           litigation, the team obtained a landmark settlement with two key components: 1) the first ever
           Board-level watchdog of its kind – the “Fox News Workplace Professionalism and Inclusion
           Council” of experts – majority independent of the Murdochs, the Company, and Board; and 2) one

                                                    39
                                                                                                         App-70
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 44 of 61 PageID 260


           of the largest financial recoveries – $90 million – ever obtained in a pure corporate board
           oversight dispute. Because of her work on the case, Rebecca subsequently narrated a feature
           documentary by Dow Jones’ MarketWatch discussing both the Fox litigation and the ways that
           investors can harness their power to create meaningful social change through shareholder
           litigation. Rebecca has lectured at Columbia Law School and multiple conferences on the topics
           of social change, sexual harassment, and shareholder litigation.

           Rebecca is currently prosecuting securities class actions against Signet Jewelers Limited and
           Qualcomm, Inc. She has been recognized by Super Lawyers for her accomplishments.

           EDUCATION: Vassar College, B.A., 2004 (History, Correlate in Women’s Studies); Social
           Justice Community Fellow. Hofstra University School of Law, 2007, J.D., cum laude; Charles H.
           Revson Foundation Law Students Public Interest Fellow; Hofstra Law Review; Distinguished
           Contribution to the School and Excellence in International Law Awards; Merit Scholarship.

           BAR ADMISSIONS: New York; U.S. District Court for the Southern District of New York, U.S.
           Courts of Appeals for the Second, Fourth, and Sixth Circuits.


           E D W A R D G. T I M L I N practices out of the firm’s New York office, where he prosecutes
           securities fraud, corporate governance and shareholder rights litigation on behalf of the firm’s
           institutional clients.

           Edward has been a senior member of the trial teams prosecuting a number of the firm’s most
           significant recent litigations, including the Allergan Proxy Violation Litigation, in which the team
           obtained a $250 million settlement for Allergan, Inc. investors after fighting a ferocious three-year
           legal battle to stop an unprecedented and sophisticated insider-trading scheme by billionaire hedge
           fund manager Bill Ackman.

           Some of his other representative litigations include:
           •   In re TIBCO Software Stockholder Litigation, where the team pursued novel and precedent-
               setting merger agreement reformation claims and recovered 33% of potential damages shortly
               before trial.
           •   In re Jefferies, Inc. Stockholder Litigation, which challenged Leucadia’s 2013 acquisition of
               Jefferies Financial Group, and settled for a $75 million net payment paid entirely to a class of
               former Jefferies investors.
           •   In re Intuitive Surgical Shareholder Derivative Litigation, a corporate misconduct case
               alleging that insiders at the robotic surgical platforms manufacturer sold hundreds of millions
               of dollars’ worth of stock at near highs, while hiding safety defects in its electrified
               instruments that were causing deaths, burns, and other injuries. The suit resulted in $15
               million recovery from the insiders and a variety of critical corporate governance reforms to
               improve the Company’s FDA and insider-trading compliance.
           •   In re GFI Group Inc. Stockholder Litigation, which challenged a transaction whereby the
               company’s founder would take a valuable piece of the business private for a pittance, while
               the balance was sold to the Chicago Mercantile Exchange. By challenging the transaction, the
               team forced the insiders to allow a far superior sale to BGC Partners and secured a $10.75 net
               recovery to the class.
           •   In re Appraisal of Diamond Resorts, which secured a confidential recovery for appraisal
               petitioners in connection with Apollo Global Management’s 2016 acquisition of Diamond
               Resorts.
           •   In re Appraisal of Jarden Corporation, which secured a confidential recovery for appraisal
               petitioners in connection with Newell Brands’ 2016 acquisition of Jarden Corporation.



                                                   40
                                                                                                      App-71
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                      Page 45 of 61 PageID 261




           Edward is currently a member of the teams prosecuting In re AmTrust Financial Services, Inc.;
           Cummings v. Edens (New Senior Investment Group); In re Pilgrim’s Pride; Dieckman v. Regency
           GP LP; West Palm Beach Firefighters v. Spectrum Brands Holdings, Inc.; In re Straight Path
           Communications, Inc.; and In re Xerox Corporation.

           Prior to joining BLB&G, Edward was a senior litigation associate at a major corporate law firm.
           Among other matters, he successfully represented corporate clients in complex litigation,
           including securities class actions, derivative actions, and merger and acquisitions matters.

           Edward received his law degree from Columbia Law School in 2009 and bachelor’s degree from
           Cornell University in 2006, both with academic honors.

           EDUCATION: Cornell University, B.A., Philosophy and History, 2006. Columbia Law School,
           J.D., 2009; Harlan Fiske Stone Scholar.

           BAR ADMISSION: New York.




                                                 41
                                                                                                   App-72
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 46 of 61 PageID 262




           Of Counsel

           G. A N T H O N Y G E L D E R M A N , III is a trusted advisor to the public pension fund community
           and a leading voice on shareholder rights and corporate governance issues, Tony heads the firm’s
           Louisiana office and is responsible for the firm’s institutional investor and client outreach. He was
           a pioneer of the firm’s portfolio monitoring program, helping lead its development more than
           twenty years ago. A frequent speaker at U.S. investor conferences, Tony serves as Co-Chair of the
           firm’s Forum for Institutional Investors, and has written numerous articles on securities litigation
           and asset protection.

           Earlier in his career, Tony served as Chief of Staff and General Counsel to the Treasurer of the
           State of Louisiana, (1992-1996) and prior to that served as General Counsel to the Louisiana
           Department of the Treasury. He also coordinated all legislative matters for the State Treasurer
           during his tenure with the Treasury Department.

           Tony is a former adjunct professor of law at the Tulane Law School where he has taught a course
           in legislative process. He served as law clerk to U.S. District Judge Charles Schwartz, Jr., Eastern
           District of Louisiana (1986-1987).

           Tony is a member of the Louisiana State Bar Association, where he served as Chairman for the
           Young Lawyers Continuing Legal Education Committee between 1990 and 1993, and the
           American Bar Association.

           BAR ADMISSIONS: Louisiana; U.S. District Courts for the Eastern and Middle Districts of
           Louisiana.


           P E T E R R U S S E L L , a trusted legal advisor to dozens of public pension and labor union funds,
           works on the firm’s institutional investor outreach and is an active member of several institutional
           investor advocacy organizations.

           An experienced litigator and prosecutor, earlier in his career he served as an Assistant Attorney
           General in the Massachusetts Attorney General’s office. Prior to that served as an Assistant
           District Attorney in Middlesex County where he prosecuted major felonies in Superior Court.
           Peter was a Director in the Attorney General’s Office where he tried cases in both state superior
           and federal courts, as well as arguing numerous matters before the Massachusetts Appeals Court.
           He also served in the Executive Bureau where he was the Attorney General’s liaison to all of the
           Mayors in the Commonwealth and Union Business Managers. In addition, he coordinated
           legislative matters for the Attorney General during his time in the Executive Bureau. Prior to the
           joining the firm, he was a leading criminal defense attorney practicing throughout New England
           and New York.

           Peter is a frequent lecturer at Boston College Law School and Suffolk Law School. He is
           recognized as a top practitioner by Best Lawyers, and as a Super Lawyer by Thomson Reuters, for
           his many professional achievements.

           A former semi-professional soccer player, he coaches youth league soccer, and trains young
           players to be collegiate scholarship level athletes, as he was. (He captained the Providence College
           Varsity Soccer team as a scholar athlete.)

           EDUCATION: Providence College, B.A.; M.A., History. Boston College Law School, J.D.

           BAR ADMISSION: Massachusetts.



                                                    42
                                                                                                         App-73
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                            Page 47 of 61 PageID 263




           S ENIOR C OUNSEL

           J A I K . C H A N D R A S E K H A R prosecutes securities-fraud litigation for the firm’s institutional-
           investor clients. He has been a member of the litigation teams on many of the firm’s high-profile
           securities cases, including In re JPMorgan Chase & Co. Securities Litigation, in which a
           settlement of $150 million was achieved for the class; In re MF Global Holdings Ltd. Securities
           Litigation, in which settlements totaling $234.3 million were achieved for the class; In re Refco,
           Inc. Securities Litigation, in which settlements totaling $367.3 million were achieved for the class;
           In re Bristol Myers Squibb Co. Securities Litigation, in which a settlement of $125 million was
           achieved for the class; In re Schering-Plough Corp./ENHANCE Securities Litigation, in which a
           settlement of $473 million was achieved for the class; In re comScore, Inc. Securities Litigation,
           in which a settlement of $27 million in cash and $83 million in stock was achieved for the class;
           and In re Volkswagen AG Securities Litigation, in which a settlement of $48 million was achieved
           on behalf of purchasers of Volkswagen AG American Depositary Receipts (“ADRs”).

           Jai is currently counsel for the plaintiffs in In re Evoqua Water Technologies Corp. Securities
           Litigation, a securities class action arising from misrepresentations in the registration statement for
           Evoqua’s initial public offering of common stock and subsequent statements to investors.
           Plaintiffs allege that the registration statement and subsequent statements included false and
           misleading statements about Evoqua’s numerous purportedly successful acquisitions and
           purportedly effective salesforce. He is also counsel for the plaintiffs in In re Micro Focus
           International, plc Securities Litigation, a securities class action arising from misrepresentations in
           the registration statement for shares issued in Micro Focus’s acquisition of the software business
           of Hewlett Packard Enterprise and in subsequent statements to investors. Plaintiffs allege that the
           registration statement and subsequent statements included false and misleading statements about
           the impact of the acquisition, including disruptions in customer accounts, worsening revenue
           trends, and massive employee attrition.

           Jai is also a member of the firm’s Global Securities and Litigation Monitoring Team, which
           monitors global equities traded in non-U.S. jurisdictions for prospective and pending international
           securities matters, and provides critical analysis of options to recover losses incurred on securities
           purchased in non-U.S. markets.

           Before joining BLB&G, Jai was a Staff Attorney with the Division of Enforcement of the United
           States Securities and Exchange Commission, where he investigated securities law violations and
           coordinated investigations involving multiple SEC offices and other government agencies. Before
           his tenure at the SEC, he was an associate at Sullivan & Cromwell LLP, where he represented
           corporate issuers and underwriters in public and private offerings of stocks, bonds, and complex
           securities and advised corporations on periodic reporting under the Securities Exchange Act of
           1934, compliance with the Sarbanes-Oxley Act of 2002, and other corporate and securities
           matters.

           Jai is a member of the New York County Lawyers Association, where he serves as Secretary and
           is a member of the Federal Courts Committee and the Board of Directors of the New York County
           Lawyers Association Foundation. He is also a member of the New York City Bar Association,
           where he serves on the Professional Responsibility Committee, and the New York State Bar
           Association.

           EDUCATION: Yale University, B.A., summa cum laude, 1987; Phi Beta Kappa. Yale Law
           School, J.D., 1997; Book Review Editor of the Yale Law Journal.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York; U.S. Courts of Appeals for Second, Third, Fifth, and Federal Circuits; U.S. District
           Court for the Western District of Wisconsin.


                                                     43
                                                                                                            App-74
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 48 of 61 PageID 264



           R I C H A R D D. G L U C K has almost 30 years of litigation and trial experience in bet-the-company
           cases. His practice focuses on securities fraud, corporate governance, and shareholder rights
           litigation. He has been named a Super Lawyer in securities litigation, recognized for achieving
           “the highest levels of ethical standards and professional excellence” by Martindale Hubbell®, and
           named one of San Diego’s “Top Lawyers” practicing complex business litigation.

           Since joining BLB&G, Rich has been a key member of the teams prosecuting a number of high-
           profile cases, including several RMBS class and direct actions against a number of large Wall
           Street Banks. He was a senior attorney on the team prosecuting the In re Lehman Brothers
           Equity/Debt Securities Litigation, which resulted in over $615 million for investors and is
           considered one of the largest total recoveries for shareholders in any case arising from the
           financial crisis. Specifically, he was instrumental in developing important evidence that led to the
           $99 million settlement with Lehman’s former auditor, Ernst & Young – one of the top 10 auditor
           settlements ever achieved. He also was a senior member of the teams that prosecuted the RMBS
           class actions against Bear Stearns, which settled for $500 million; JPMorgan, which settled for
           $280 million; Wilmington Trust, which settled for $210 million; and Morgan Stanley, which
           settled for $95 million. He was also a key member of the trial teams that prosecuted the litigations
           against MF Global, which recovered $234.3 million on behalf of investors; and Genworth, which
           settled for $219 million.

           Before joining BLB&G, Rich represented corporate and individual clients in securities fraud and
           consumer class actions, SEC investigations and enforcement actions, and in actions involving
           claims of fraud, breach of contract and misappropriation of trade secrets in state and federal courts
           and in arbitration. He has substantial trial experience, having obtained verdicts or awards for his
           clients in multi-million dollar lawsuits and arbitrations. Prior to entering private practice, Rich
           clerked for Judge William H. Orrick of the United States District Court for the Northern District of
           California.

           Rich currently is a senior member of the teams prosecuting In re Vale, S.A. Securities Litigation,
           In re Intel Securities Litigation, Qualcomm, Inc. Securities Litigation, and a number of direct
           actions against Valeant Pharmaceuticals International, Inc. on behalf of almost two dozen
           institutional investors and government retirement systems. He practices out of the firm’s San
           Diego office.

           Rich is a former President of the San Diego Chapter of the Association of Business Trial Lawyers
           and currently is a member of its Board of Governors.

           EDUCATION: California State University Sacramento, B.S., Business Administration, with
           honors, 1987. Santa Clara University, J.D., summa cum laude, 1990; Articles Editor of the Santa
           Clara Computer and High Technology Law Journal.

           BAR ADMISSIONS: California; U.S. District Courts for the Central, Northern and Southern
           Districts of California.


           A D A M H O L L A N D E R prosecutes securities fraud, corporate governance, and shareholder rights
           litigation on behalf of the firm’s clients.

           Adam has represented investors and corporations in state and federal trial and appellate courts
           throughout the country. He was an integral member of the teams that prosecuted, among other
           cases, In re Salix Pharmaceuticals Ltd., recovering $210 million for investors; San Antonio Fire &
           Police Pension Fund v. Dole Food Company, Inc., recovering $74 million for investors; and Bach
           v. Amedisys, Inc., recovering $43.75 million for investors after a successful appeal to the U.S.
           Court of Appeals for the Fifth Circuit following a previous dismissal.




                                                     44
                                                                                                      App-75
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 49 of 61 PageID 265




           Currently, Adam represents clients in a number of disputes relating to corporate misconduct and
           alleging harm to investors, including a securities-fraud class action against Volkswagen which
           recently resulted in a $48 million recovery for Volkswagen investors arising out of the
           “Dieselgate” emissions-cheating scandal; a securities-fraud class action on behalf of investors in
           the now-bankrupt renewable energy company SunEdison, Inc., a securities-fraud class action
           against Novo Nordisk concerning pricing of its insulin drugs; and a class action on behalf of
           Puerto Rico investors to whom UBS improperly recommended risky Puerto Rico securities.

           Prior to joining BLB&G, Adam clerked for the Honorable Barrington D. Parker, Jr. of the U.S.
           Court of Appeals for the Second Circuit, and for the Honorable Stefan R. Underhill of the U.S.
           District Court for the District of Connecticut. He has also been associated with two New York
           defense firms, where he gained significant experience representing clients in various civil,
           criminal, and regulatory matters, including white-collar and complex commercial litigation.

           EDUCATION: Brown University, A.B., magna cum laude, 2001, Urban Studies. Yale Law
           School, J.D., 2006; Editor, Yale Law and Policy Review.

           BAR ADMISSIONS: New York; Connecticut; U.S. District Courts for the Southern District of
           New York and the District of Connecticut; U.S. Court of Appeals for the Second Circuit.


           A B E A L E X A N D E R practices out of the New York office, where he focuses on securities fraud,
           corporate governance and shareholder rights litigation.

           As a principal member of the trial team prosecuting In re Merck Vioxx Securities Litigation, Abe
           helped recover over $1.06 billion on behalf of injured investors. The case, which asserted claims
           arising out of the Defendants’ alleged misrepresentations concerning the safety profile of Merck’s
           pain-killer, VIOXX, was settled shortly before trial and after more than 10 years of litigation,
           during which time plaintiffs achieved a unanimous and groundbreaking victory for investors at the
           U.S. Supreme Court. The settlement is the largest securities recovery ever achieved against a
           pharmaceutical company and among the 15 largest recoveries of all time.

           Abe was also a principal member of the trial team that prosecuted In re Schering-Plough
           Corp./ENHANCE Securities Litigation and In re Merck & Co., Inc. Vytorin/Zetia Securities
           Litigation, which settled on the eve of trial for a combined $688 million. This $688 million
           settlement represents the second largest securities class action recovery against a pharmaceutical
           company in history and is among the largest securities class action settlements of any kind.

           Abe has also obtained several additional significant recoveries on behalf of investors in
           pharmaceutical and life sciences companies, including a $142 million recovery in Medina v.
           Clovis Oncology, Inc., a securities fraud class action arising from Defendants’ alleged
           misstatements about the efficacy and safety of its most important drug, and a $55 million recovery
           in In re HeartWare International, Inc. Securities Litigation, a case arising from Defendants’
           alleged misstatements about the device-maker’s compliance with FDA regulations and the
           performance of its key heart pump in clinical and bench testing.

           As lead associate on the firm’s trial team, Abe helped achieve a $150 million settlement of
           investors’ claims against JPMorgan Chase arising from alleged misrepresentations concerning the
           trading activities of the so-called “London Whale.” Abe also played a key role in obtaining a
           substantial recovery on behalf of investors in In re Penn West Petroleum Ltd. Securities
           Litigation. He is currently prosecuting In re Cognizant Technology Solutions Corp. Securities
           Litigation; In re Equifax, Inc. Securities Litigation; In re Akorn, Inc. Securities Litigation; In re
           Adeptus Health, Inc. Securities Litigation; and City of Sunrise Firefighters’ Pension Fund v.
           Oracle Corp., among others.


                                                   45
                                                                                                       App-76
    Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                           Page 50 of 61 PageID 266




               Prior to joining the firm, Abe represented institutional clients in a number of high-profile
               securities, corporate governance, and antitrust matters.

               Abe was an award-winning member of his law school’s national moot court team. Following law
               school, Abe served as a judicial clerk to Chief Justice Michael L. Bender of the Colorado Supreme
               Court.

               Super Lawyers has regularly selected Abe as a New York “Rising Star” in recognition of his
               accomplishments.

               EDUCATION: New York University – The College of Arts and Science, B.A., Analytic
               Philosophy, cum laude, 2003. University of Colorado Law School, J.D., 2008; Order of the Coif.

               BAR ADMISSIONS: Delaware; New York; U.S. District Court for the District of Delaware; U.S.
               District Courts for the Eastern and Southern Districts of New York; U.S. Court of Appeals for the
               First Circuit.


               S C O T T R. F O G L I E T T A focuses his practice on securities fraud, corporate governance, and
               shareholder rights litigation. He is a member of the firm’s New Matter Department, in which he,
               as part of a team of attorneys, financial analysts, and investigators, counsels Taft-Hartley pension
               funds, public pension funds, and other institutional investors on potential legal claims.

               In addition to his role in the New Matter Department, Scott was also a member of the litigation
               team responsible for prosecuting In re Lumber Liquidators Holdings, Inc. Securities Litigation,
               which resulted in a $45 million recovery for investors. He is also currently a member of the team
               prosecuting the securities fraud class action against Fleetcor Technologies. For his
               accomplishments, Scott was recently named a New York “Rising Star” in the area of securities
               litigation by Thomson Reuters.

               Before joining the firm, Scott represented institutional and individual clients in a wide variety of
               complex litigation matters, including securities class actions, commercial litigation, and ERISA
               litigation. Prior to law school, Scott earned his M.B.A. in finance from Clark University and
               worked as a capital markets analyst for a boutique investment banking firm.

               EDUCATION: Clark University, B.A., Management, cum laude, 2006. Clark University,
               Graduate School of Management, M.B.A., Finance, 2007. Brooklyn Law School, J.D., 2010.

               BAR ADMISSIONS: New York; New Jersey.


               C H R I S T O P H E R J. O R R I C O ’s practice is focused on complex litigation, including matters
               involving securities fraud, corporate governance and shareholder rights litigation on behalf of the
               firm’s institutional investor clients.

               Christopher has significant experience in complex litigation, representing investor plaintiffs in
               major securities, antitrust and ERISA litigation, as well as a variety of other business tort
               litigation. He has also represented insurers in matters involving directors and officers liability
               policies, errors and omissions, and fiduciary liability.
.
               Christopher obtained his joint J.D. and M.B.A. from Villanova University School of Law and
               School of Business. He completed the four-year joint degree program in only three years and has
               since served as a guest lecturer on securities litigation for the school. Additionally, Christopher
               obtained his B.A. in Economics from Yale University where he was Captain of the Varsity
               Baseball Team. He is the co-author of “Entire Fairness Or Business Judgment? It’s Anyone’s

                                                        46
                                                                                                              App-77
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 51 of 61 PageID 267




           Guess,” which was published by Law360.com in 2015 and “The X’s and O’s of Football’s
           Offseason of Discontent,” which was published by the New York Law Journal in 2011. He is the
           author of “If You Ain’t Cheating You Ain’t Trying!” and “The Shifting Meaning of ‘Fair Value,’
           From Corwin to Dell: Recent Rulings and Reversals in Delaware’s Courts May Spell Trouble for
           Investors” which were published by The Advocate for Institutional Investors in 2016 and 2018,
           respectively.

           Christopher is a member of the American Bar Association, the New York State Bar Association
           and the Connecticut Bar Association, as well as the National Italian American Foundation. He is
           also a member of the Villanova Law Alumni Mentoring Program.

           Christopher was a key member of the teams that successfully litigated: In re Appraisal of Towers
           Watson & Co. (n/k/a WTW Delaware Holding LLC); Williams v. Ji, et al. (Sorrento Therapeutics,
           Inc.); California Public Employees’ Retirement System v. IAC/InterActiveCorp, et al.; 3-Sigma
           Value Financial Opportunities LP, et al. v. Jones (CertusHoldings, Inc.); In re Globe Specialty
           Metals, Inc. Stockholders Litigation; In re Appraisal of Diamond Resorts International, Inc.; In re
           Vaalco Energy, Inc. Consolidated Stockholder Litigation and In re Sanchez Energy Derivative
           Litigation. He is currently a member of the teams prosecuting: In re Appraisal of Columbia
           Pipeline Group, Inc. and In re Starz Stockholder Litigation.

           EDUCATION: Yale University, B.A., Economics, 2005. Villanova University School of Law and
           School of Business, J.D., MBA, 2009.

           BAR ADMISSIONS: New York; Connecticut.


           J O H N J. M I L L S ’ practice focuses on negotiating, documenting, and obtaining court approval of
           the firm’s securities, merger, and derivative settlements. Over the past decade, John was actively
           involved in finalizing the following settlements, among others: In re Wachovia Preferred Sec.
           and Bond/Notes Litig. (S.D.N.Y.) ($627 million settlement); In re Wilmington Trust Sec. Litig. (D.
           Del.) ($210 million settlement); In re Freeport-McMoRan Copper & Gold Inc. Derivative Litig.
           (Del. Ch.) ($153.75 million settlement); Medina, et al. v. Clovis Oncology, Inc., et al. (D. Colo.)
           ($142 million settlement); In re News Corp. S’holder Litig. (Del. Ch.) ($139 million recovery and
           corporate governance enhancements); In re Mut. Funds Invest. Litig. (MFS, Invesco, and Pilgrim
           Baxter Sub-Tracks) (D. Md.) ($127.036 million total recovery); Fresno County Employees’ Ret.
           Ass’n, et al. v. comScore, Inc., et al. (S.D.N.Y.) ($110 million settlement); In re El Paso Corp.
           S’holder Litig. (Del. Ch.) ($110 million settlement); In re Starz Stockholder Litig. (Del. Ch.)
           ($92.5 million settlement); and The Dep’t of the Treasury of the State of New Jersey and its Div. of
           Invest. v. Cliffs Natural Res. Inc., et al. (N.D. Ohio) ($85 million settlement).

           John received his J.D. from Brooklyn Law School, cum laude, where he was a Carswell Merit
           Scholar recipient and a member of The Brooklyn Journal of International Law. He received his
           B.A. from Duke University.

           EDUCATION: Duke University, B.A., 1997. Brooklyn Law School, J.D., cum laude, 2000;
           Member of The Brooklyn Journal of International Law; Carswell Merit Scholar recipient.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York.




                                                   47
                                                                                                      App-78
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 52 of 61 PageID 268



           D A V I D L. D U N C A N ’s practice concentrates on the settlement of class actions and other
           complex litigation and the administration of class action settlements.

           Prior to joining BLB&G, David worked as a litigation associate at Debevoise & Plimpton, where
           he represented clients in a wide variety of commercial litigation, including contract disputes,
           antitrust and products liability litigation, and in international arbitration. In addition, he has
           represented criminal defendants on appeal in New York State courts and has successfully litigated
           on behalf of victims of torture and political persecution from Sudan, Côte d’Ivoire and Serbia in
           seeking asylum in the United States.

           While in law school, David served as an editor of the Harvard Law Review. After law school, he
           clerked for Judge Amalya L. Kearse of the U.S. Court of Appeals for the Second Circuit.

           EDUCATION: Harvard College, A.B., Social Studies, magna cum laude, 1993. Harvard Law
           School, J.D., magna cum laude, 1997.

           BAR ADMISSIONS: New York; Connecticut; U.S. District Court for the Southern District of
           New York.




                                                   48
                                                                                                        App-79
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 53 of 61 PageID 269




           A SSOCIATES

           K A T E A U F S E S prosecutes securities fraud, corporate governance and shareholder rights
           litigation out of the firm’s New York office. She is currently a member of the teams prosecuting
           securities class actions against Facebook, Inc., Frontier Communications Corporation and
           Volkswagen AG – which recently resulted in a recovery of $48 million for Volkswagen investors,
           among others.

           In addition to her direct litigation responsibilities, Kate is also a member of the firm’s Global
           Securities and Litigation Monitoring Team, which monitors global equities traded in non-U.S.
           jurisdictions on prospective and pending international securities matters, and provides critical
           analysis of options to recover losses incurred on securities purchased in non-U.S. markets.

           Prior to joining the firm, Kate was an associate at Hughes Hubbard & Reed, where she worked on
           complex commercial litigation. Prior to graduating law school, she also served as a judicial intern
           for the Honorable Jack B. Weinstein.

           EDUCATION: Kenyon College, B.A., English, magna cum laude, 2008. University of
           Cambridge, MPhil, American Literature, 2009. University of Cambridge, MPhil, History of Art,
           2010. University of Michigan Law School, J.D., 2015; Managing Symposium Editor, Michigan
           Journal of Law Reform.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York.


           A N D R E W B L U M B E R G practices out of the New York office, where he prosecutes corporate
           governance and fiduciary duty litigation on behalf of the firm’s institutional investor clients.

           Prior to joining the firm, Andrew was a securities litigation associate at Weil, Gotshal & Manges
           LLP, where he, among other things, represented clients in corporate governance and securities
           actions. Prior to joining Weil, Andrew clerked for Chancellor Andre G. Bouchard of the Delaware
           Court of Chancery.

           Andrew is currently a member of the teams prosecuting In re BGC Partners, Inc. Derivative
           Litigation and In re Pilgrim’s Pride Corporation Derivative Litigation.

           EDUCATION: Johns Hopkins University, B.A., Economics, 2007. Washington University
           Business School, MBA, 2014. Washington University School of Law, J.D., 2014.

           BAR ADMISSION: New York.


           A M A N D A B O I T A N O is an associate practicing out of the New York office in the securities
           litigation department. She represents the firm’s institutional investor clients in securities fraud-
           related matters.

           Amanda is a 2018 graduate of New York University School of Law. While in law school, she
           served as a senior articles editor for the Annual Survey of American Law and as an extern in the
           Violent and Organized Crimes unit of the U.S. Attorney’s Office of the Southern District of New
           York. Amanda is also active in pro bono matters and has represented individuals in family law
           cases. Prior to attending law school, Amanda worked for Teach for America. She is also a
           Jeopardy! champion.

                                                    49
                                                                                                         App-80
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 54 of 61 PageID 270



           EDUCATION: William & Mary, B.A., 2013; Dean’s List. New York University School of Law,
           J.D., 2018.

           BAR ADMISSION: New York.


           L A U R E N M. C R U Z practices out of the firm’s Los Angeles office, where she prosecutes class
           and direct actions on behalf of the firm’s institutional investor clients. She is currently a member
           of the teams prosecuting securities class actions against NVIDIA Corporation, Impinj, Inc., and
           Qualcomm, Inc.

           Prior to joining BLB&G, Lauren was a litigation associate at Sullivan & Cromwell LLP, where
           she represented domestic and international clients in complex civil litigation and alternative
           dispute resolution. She also gained considerable experience advising company boards following
           internal investigations of shareholder demands. In addition, Lauren’s practice included substantial
           pro bono civil rights work on behalf of detainees with mental health concerns.

           While attending New York University School of Law, Lauren worked at the Legal Aid Society,
           Juvenile Rights Practice as part of NYU Law’s Children’s Rights Clinic and served as a Senior
           Articles Editor for the Journal of Law and Liberty and a Staff Editor for the Environmental Law
           Journal.

           EDUCATION: California State University Channel Islands, B.A., Business, summa cum laude,
           2008. New York University School of Law, J.D., 2014. Senior Articles Editor, Journal of Law
           and Liberty; Staff Editor, Environmental Law Journal.

           BAR ADMISSIONS: California; U.S. District Courts for the Central, Eastern, Northern, and
           Southern Districts of California; US. Court of Appeals for the Ninth Circuit.


           R. R Y A N D Y K H O U S E practices out of the firm’s New York office and prosecutes securities
           fraud, corporate governance, and shareholder rights litigation on behalf of the firm’s institutional
           investor clients.

           Prior to joining the firm, he was a Disputes Resolution Associate with Freshfields Bruckhaus
           Deringer, where he represented public and private companies on internal and government
           investigations, sanctions compliance, and litigation matters.

           While attending Harvard Law School, Ryan served as the Executive Managing Editor of the
           Harvard Civil Rights – Civil Liberties Law Review. He also represented clients in housing
           eviction cases as counsel with the Harvard Legal Aid Bureau, and served as a Legal Intern for the
           Civil Division of the United States Attorney’s Office, Southern District of New York.

           EDUCATION: Olivet Nazarene University, B.A., 2012. Hunter College, M.S.Ed., 2014.
           Harvard Law School, J.D. 2017; Executive Managing Editor, Harvard Civil Rights-Civil Liberties
           Law Review.

           BAR ADMISSION: New York.


           J A M E S M. F E E practices out of the firm’s New York office where he works on complex
           commercial and securities litigation matters on behalf of the firm’s institutional investor clients.

           Before joining the firm, James served as an associate at Cadwalader, Wickersham & Taft, where
           he represented clients in securities class actions, business disputes, bankruptcy matters, and
           corporate governance litigation.

                                                   50
                                                                                                        App-81
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 55 of 61 PageID 271


           While attending Boston College Law School, James served as the Executive Articles Editor for the
           Boston College International & Comparative Law Review. Prior to law school, James served as a
           financial services legislative aide in the United States Senate.

           EDUCATION: University of Pennsylvania, B.A., 2010. Boston College Law School, J.D., 2015;
           Executive Articles Editor, Boston College International & Comparative Law Review.

           BAR ADMISSIONS: New York; Massachusetts; U.S. District Court for the Southern District of
           New York.


           N I C H O L A S G E R S H practices out of the firm’s New York office, where he prosecutes securities
           fraud and shareholder rights litigation on behalf of the firm’s institutional investor clients.

           He is currently a member of the teams prosecuting the securities litigation against The Kraft Heinz
           Company and Venator Materials PLC.

           Prior to joining the firm, Nicholas served as a clerk for The Honorable Judge Graham Jack of the
           Southern District of Texas.

           During law school, he gained considerable experience as an Economic Crimes Division Extern for
           The United States Attorney’s Office in the District of Massachusetts, and as an Enforcement
           Extern for U.S. Securities and Exchange Commission. He also served as the Lead U.S. Legal
           Researcher for the Iraqi-Kurdistan Religious Freedom Project.

           EDUCATION: Johns Hopkins University, 2014, B.A. Harvard Law School, J.D., 2018;
           International Law Journal; The Vis Commercial Arbitration Moot Court Team; Global
           Anticorruption Blog, Contributor

           BAR ADMISSION: New York.


           M A T H E W H O U G H ’s practice focuses on securities litigation, corporate governance, and
           shareholder rights litigation. As a member of the firm’s New Matter department, he counsels
           institutional clients on potential legal claims as part of a team of attorneys, financial analysts, and
           investigators.

           Prior to joining the firm, Mathew was an associate at Sullivan & Cromwell LLP, where he worked
           extensively on complex commercial litigation, securities litigation, enforcement, and internal
           investigations. While in law school, he also served as a legal intern with the King County
           Northwest Defenders Division.

           EDUCATION: Washington State University, B.A., Distinguished Writing Academic Scholar,
           2012. Boston University School of Law, J.D., 2017; Staff Editor, Boston University Law Review;
           G. Joseph Tauro Distinguished Scholar.

           BAR ADMISSION: New York.


           T H O M A S J A M E S practices out of the firm’s New York Office, where he prosecutes corporate
           governance and fiduciary duty litigation on behalf of the firm's institutional investor clients.

           Before joining the firm, Tom was a securities litigation associate at Weil, Gotshal & Manges LLP,
           where he, among other things, represented clients in corporate governance, appraisal, and
           securities actions. Before joining Weil, he clerked for Vice Chancellor J. Travis Laster of the
           Delaware Court of Chancery. During law school, Tom served as a senior editor of the Boston
           College Law Review.

                                                    51
                                                                                                         App-82
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 56 of 61 PageID 272



           EDUCATION: Hamilton College, B.A., 2011. Boston College Law School, J.D., cum laude,
           2014; Senior Editor, Boston College Law Review.

           BAR ADMISSION: New York.


           J E S S E L. J E N S E N prosecutes securities fraud, corporate governance and shareholder rights
           litigation on behalf of the firm’s institutional clients.

           Prior to joining the firm, Jesse was a litigation associate at Hughes Hubbard & Reed, where he
           represented accounting firms, banks, investment firms and high-net-worth individuals in complex
           commercial, securities, commodities and professional liability civil litigation and alternative
           dispute resolution. He also gained considerable experience in responding to investigations and
           inquiries by government regulators such as the SEC and CFTC. In addition, Jesse actively
           litigated several pro bono civil rights cases, including a federal suit in which he secured a
           favorable settlement for an inmate alleging physical abuse by corrections officers.

           Since joining the firm, he has helped investors achieve hundreds of millions in recoveries,
           including a $110 million settlement in Fresno County Employees’ Retirement Association v.
           comScore, Inc.; a $32 million cash settlement in an action against real estate service provider
           Altisource Portfolio Solutions, S.A.; a $210 million dollar settlement in In re Wilmington Trust
           Securities Litigation; and a $22 million settlement in an action against mutual fund company
           Virtus Investment Partners, Inc. He is currently assisting the firm in its prosecution of In re
           Frontier Communications Corp. Sec. Litig.; Roofer’s Pension Fund v. Papa et al.; In re Bristol-
           Myers Squibb Company Sec. Litig.; and In re Cognizant Technology Solutions Co. Sec. Litig.

           In recognition of his professional achievements and reputation, Jesse has been named a “Rising
           Star” for the past six years by Thomson Reuters Super Lawyers (no more than 2.5% of the lawyers
           in New York are selected to receive this honor each year).

           EDUCATION: New York University School of Law, J.D., 2009; Staff Editor, NYU Journal of
           Law and Business.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York; U.S. Courts of Appeals for the Second and Third Circuits.


           R E B E C C A N. K I M practices out of the firm’s New York office, prosecuting securities fraud,
           corporate governance, and shareholder rights litigation on behalf of the firm’s institutional
           investor clients.

           She is a member of the firm’s New Matter Department, in which she, as part of a team of
           attorneys, financial analysts, and investigators, counsels public pension funds and other
           institutional investors on potential legal claims.

           Prior to joining the firm, Rebecca represented institutional clients in a number of high-profile
           securities and antitrust matters.

           While attending Columbia Law School, Rebecca was honored as a Harlan Fiske Stone Scholar.
           Additionally, she completed an internship at the Securities and Exchange Commission,
           Enforcement Division; participated in the Immigrants’ Rights Clinic; and served as Articles Editor
           for the Columbia Journal of Tax Law and Submissions Editor for the Columbia Journal of Race
           and Law.




                                                     52
                                                                                                        App-83
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                         Page 57 of 61 PageID 273


           EDUCATION: Columbia Law School, J.D., 2017; Harlan Fiske Stone Scholar; Articles Editor,
           Columbia Journal of Tax Law; Submissions Editor, Columbia Journal of Race and Law.
           University of California, Berkeley, B.A., 2011.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern District of
           New York.

           LANGUAGE: Korean.


           J A C Q U E L I N E Y . M A practices out of the firm’s New York office, where she prosecutes
           corporate governance and fiduciary duty litigation on behalf of the firm’s institutional investor
           clients.

           Prior to joining BLB&G, Jacqueline was a dispute resolution associate at Linklaters LLP, where
           she represented financial institutions, companies, and individuals in complex commercial
           litigation and shareholder rights cases, including a Delaware appraisal trial. While attending
           Columbia Law School, she served as the Executive Managing Editor of the Columbia Journal of
           Gender and Law, as the Student Director of the CLS Writing Center, and as a judicial extern for
           the Honorable Lorna G. Schofield.

           EDUCATION: University of Washington, Seattle, B.A., magna cum laude, 2011. Columbia Law
           School, J.D., 2016; Harlan Fiske Stone Scholar; Executive Managing Editor, Columbia Journal of
           Gender and Law.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York; U.S. Court of Appeals for the Second Circuit.


           M I C H A E L M A T H A I ’s practice focuses on securities fraud, corporate governance and
           shareholder rights litigation.

           Prior to joining the firm, Michael was a litigation associate at O’Melveny & Myers LLP, where he
           represented financial services and other companies in securities class action, shareholder rights,
           antitrust, and commercial litigation matters in state and federal court. He also gained considerable
           experience representing companies and individuals in investigations and inquiries by regulatory
           bodies including the SEC, DOJ, FTC, and FINRA.

           He is currently a member of the teams prosecuting securities class actions against Wells Fargo &
           Company, Signet Jewelers Limited, CenturyLink, Inc., and Henry Schein, Inc., among others.

           EDUCATION: Harvard University, A.B., cum laude, 2006, Economics. London School of
           Economics and Political Science, 2008, M.Sc., Economics. Columbia Law School, J.D., 2012;
           Harlan Fiske Stone Scholar.

           BAR ADMISSION: New York.


           D A N I E L M E Y E R is an associate in the corporate governance department practicing out of the
           firm’s New York office, where he represents the firm’s institutional investor clients. Prior to
           joining the firm, Daniel was an associate working in Davis Polk & Wardwell LLP's corporate
           department, practicing in the restructuring group. He also served as a judicial law clerk for the
           Honorable Andre G. Bouchard in the Delaware Court of Chancery.

           Daniel is a 2017 graduate of University of Pennsylvania Law School. While in law school, he
           served as a senior editor on the University of Pennsylvania Law Review.


                                                   53
                                                                                                         App-84
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 58 of 61 PageID 274


           EDUCATION: Princeton University, B.A., magna cum laude, 2012. University of Pennsylvania
           Law School, J.D., magna cum laude, 2017; Senior Editor, University of Pennsylvania Law
           Review; Order of the Coif.

           BAR ADMISSION: New York.


           C H R I S T O P H E R M I L E S is an associate practicing out of the New York office in the securities
           litigation department. He is representing the firm’s institutional investor clients in securities
           fraud-related matters.

           Prior to joining the firm, Christopher was an associate practicing litigation at Sullivan & Cromwell
           LLP, where he specialized in complex litigation, including securities and class actions. He is a
           2014 graduate of Harvard Law School and served as an editor for the Harvard Law Review. He
           received his undergraduate degree from the University of Nevada, Reno.

           EDUCATION: University of Nevada, B.A., 2010, Dean’s List. Harvard Law School, J.D., 2014;
           Editor, Harvard Law Review.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York.


           B R E N N A N E L I N S O N ’s practice focuses on securities fraud, corporate governance and
           shareholder rights litigation.

           She is currently a member of the firm’s teams prosecuting securities class actions against Virtus
           Investment Partners and Signet Jewelers.

           Prior to joining the firm, Brenna was a Litigation Associate at Hogan Lovells US LLP. She
           represented a variety of defendants in all aspects of corporate litigation.

           EDUCATION: New York University, B.A., 2011, Individualized Study – Psychology and
           Philosophy. American University Washington College of Law, J.D., cum laude, 2014; Note &
           Comment Editor, American University International Law Review; Moot Court Honor Society.

           BAR ADMISSION: Maryland.


           K Y L E P A N T O N focuses his practice on securities fraud, corporate governance, and shareholder
           rights litigation.

           Prior to joining the firm, Kyle was a Litigation Associate with Fried Frank Harris Shriver &
           Jacobson, where he practiced broad-based litigation, including general commercial litigation,
           internal investigations, securities litigation, and white-collar litigation.

           While attending the University of Chicago Law School, Kyle served as a Representative on the
           Vice-President’s Advisory Council on Diversity and Inclusion and as President of the law school’s
           Black Law Students Association.

           EDUCATION: University of Chicago, B.A., 2014. University of Chicago Law School, J.D.,
           MBA, 2017.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York.



                                                    54
                                                                                                           App-85
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                           Page 59 of 61 PageID 275


           A L E X A N D E R T . P A Y N E practices out of the firm’s New York Office in the securities litigation
           group.

           Previously, he was a Litigation & Dispute Resolution associate at Mayer Brown’s New York
           office where he represented financial institutions and corporations in complex commercial and
           securities litigations, shareholder derivative and fiduciary duty litigations, and governmental
           investigations.

           Alex graduated from the Fordham University School of Law in 2015. While in law school, Alex
           was a member of the Fordham Law Review and served as a Judicial Intern for the Honorable
           Loretta A. Preska, while she was Chief Judge of the United States District Court for the Southern
           District of New York (S.D.N.Y.).

           In recognition of his academic excellence, he was a recipient of the Henrietta Metcalf Contract
           Prize for excellence in the study of Contracts and the Fordham University School of Law Legal
           Writing Award.

           Prior to entering the legal profession, Alex worked in the field of education policy analysis for the
           Graduate School of Education and Human Development at The George Washington University in
           Washington DC.

           EDUCATION: The George Washington University, B.A., magna cum laude, 2006. Fordham
           University School of Law, J.D., cum laude, 2015; Fordham Law Review; Henrietta Metcalf Prize
           for Excellence in the Study of Contracts; Fordham University School of Law Legal Writing
           Award.

           BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
           New York.


           M A T T H E W T R A Y L O R practices out of the firm’s New York office, prosecuting securities
           fraud litigation on behalf of the firm’s institutional investor clients.

           Prior to joining the firm, Matthew was an associate at Cahill Gordon & Reindel where he
           specialized in complex litigation and investigations, including: securities, antitrust and complex
           commercial litigation, as well as FCPA compliance and internal investigations.

           While attending law school, Matthew served as Vice President of the Black Law Student
           Association. In addition, he was also a member of the Public Interest Law Union, and a 2L
           Representative for the American Constitutional Society.

           EDUCATION: Binghamton University, B.A., magna cum laude, 2014. Cornell Law School,
           J.D., 2017; General Editor, Cornell Journal of Law and Public Policy.

           BAR ADMISSION: New York.


           C A T H E R I N E E. V A N K A M P E N ’s practice concentrates on class action settlement
           administration. She has extensive experience in complex litigation and litigation management,
           having overseen attorney teams in many of the firm’s most high-profile cases. Fluent in Dutch,
           she has served as the lead investigator and led discovery efforts in actions involving international
           corporations and financial institutions headquartered in Belgium and the Netherlands.

           Prior to joining BLB&G, Catherine focused on complex litigation initiated by institutional
           investors and the Federal Government. She has worked on litigation and investigations related to
           regulatory enforcement actions, corporate governance and compliance matters as well as
           conducted extensive discovery in English and Dutch in cross-border litigation.

                                                     55
                                                                                                         App-86
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                        Page 60 of 61 PageID 276



           A committed humanitarian, Catherine was honored as the 2018 Ambassador Medalist at the New
           Jersey Governor’s Jefferson Awards for Outstanding Public Service for her international
           humanitarian and pro bono work with refugees. The Jefferson Awards, issued by the Jefferson
           Awards Foundation that was founded by Jacqueline Kennedy Onassis, are awarded by state
           governors and are considered America’s highest honor for public service bestowed by the United
           States Senate. Catherine was also honored in Princeton, New Jersey by her high school alma
           mater, Stuart Country Day School, in its 2018 Distinguished Alumnae Gallery for her
           humanitarian and pro bono efforts on behalf of women and children afflicted by war in Iraq and
           Syria.

           Catherine clerked for the Honorable Mary M. McVeigh in the Superior Court of New Jersey
           where she was also trained as a court-certified mediator. While in law school she was a legal
           intern at the Center for Social Justice’s Immigration Law Clinic at Seton Hall University School of
           Law.

           EDUCATION: Indiana University, B.A., Political Science, 1988. Seton Hall University School
           of Law, J.D., 1998.

           BAR ADMISSIONS: New York, New Jersey.

           LANGUAGES: Dutch, German.


           A L L A Z A Y E N C H I K practices out of the firm’s New York office, where she prosecutes securities
           fraud, corporate governance, and shareholder rights litigation on behalf of the firm’s institutional
           investor clients.

           Alla was a key member of the trial team that successfully litigated In re Starz Stockholder
           Litigation, a breach of fiduciary duty action arising from Starz’s sale to Lionsgate, which led to a
           $92.5 million recovery. She has successfully litigated numerous representative actions including
           In re TIBCO Software Stockholder Litigation; In re DreamWorks Animation SKG, Inc.; Williams
           v. Ji, et al. (Sorrento Therapeutics, Inc.); In re Sanchez Energy Derivative Litigation; In re
           Appraisal of Towers Watson & Co.; and In Re Appraisal of Diamond Resorts International, Inc.
           Among other cases, Alla is currently prosecuting Dieckman v. Regency GP LP and In re Straight
           Path Communications, Inc.

           Prior to joining BLB&G, Alla was a litigation associate at a New York law firm, where she
           successfully represented clients in class action and corporate governance litigation. While in law
           school, Alla was a Symposium Editor for the Cardozo Public Law, Policy, and Ethics Journal. She
           also served as a judicial intern for the Honorable Melvin L. Schweitzer of the New York Supreme
           Court, Commercial Division, and as a legal intern for The Innocence Project.

           EDUCATION: Baruch School of the City College of New York, B.A., summa cum laude,
           Philosophy, 2010. Benjamin N. Cardozo School of Law, J.D., 2013.

           BAR ADMISSION: New York.

           LANGUAGES: Russian, French.




                                                   56
                                                                                                       App-87
Case 3:20-cv-00518-X Document 23-6 Filed 04/28/20                          Page 61 of 61 PageID 277




           S TAFF A SSOCIATE

           D A V I D S T E A C I E has represented institutional investors in numerous securities fraud class
           actions. He was a member of the teams that prosecuted In re Refco Securities Litigation (total
           recoveries in excess of $400 million), Ohio Public Employees Retirement System, et al. v. Freddie
           Mac, et al. ($410 million settlement) and In re Biovail Corp. Securities Litigation ($138 million
           settlement). David also supervises the attorneys at BLB&G who are primarily focused on
           electronic discovery.

           Prior to joining BLB&G, David was an attorney in private practice where he focused on securities
           and consumer fraud class action litigation.

           EDUCATION: University of Massachusetts at Amherst, B.B.A., cum laude, 1986. Suffolk
           University Law School, J.D., 1994.

           BAR ADMISSION: Massachusetts.




                                                    57
                                                                                                         App-88
